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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

WANDERING DAGO, INC.,

                                     Plaintiff,

       vs.                                                        1:13-cv-1053
                                                                  (MAD/DJS)
ROANN M. DESTITO; JOSEPH J. RABITO;
WILLIAM F. BRUSO, JR.; AARON
WALTERS; and JOHN DOES 1-5,

                             Defendants.
____________________________________________

APPEARANCES:                                       OF COUNSEL:

BOIES, SCHILLER & FLEXNER, LLP                     GEORGE F. CARPINELLO, ESQ.
30 South Pearl Street                              JOHN F. DEW, ESQ.
Albany, New York 12207
Attorneys for Plaintiff

ISEMAN, CUNNINGHAM, RIESTER &                      MICHAEL Y. HAWRYLCHAK, ESQ.
HYDE, LLP
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Albany, New York 12203
Attorneys for Plaintiff

OFFICE OF THE NEW YORK                             COLLEEN D. GALLIGAN, AAG
STATE ATTORNEY GENERAL                             LOUIS JIM, AAG
The Capitol
Albany, New York 12224
Attorneys for Defendants

Mae A. D'Agostino, U.S. District Judge:

                       MEMORANDUM-DECISION AND ORDER

                                    I. INTRODUCTION

       On August 27, 2013, Plaintiff commenced this civil rights action seeking damages, and

injunctive and declaratory relief arising from the denial by the New York State Office of
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General Services ("OGS"), RoAnn M. Destito, Joseph J. Rabito, William F. Bruso, Jr., and

Aaron Walters of Plaintiff's application to participate as a food vendor in the 2013 Empire State

Plaza Summer Outdoor Lunch Program, and the subsequent termination of Plaintiff's status as

a vendor at the Saratoga Race Course by the New York State Racing Association ("NYRA"),

Christopher K. Kay, and Stephen Travers. See Dkt. No. 1. Plaintiff alleges that Defendants

took these actions under pressure from, or at the direction of, various New York State officials.

See id.

          In a January 15, 2014 Memorandum-Decision and Order, the Court granted in part and

denied in part Defendants' motions to dismiss. See Dkt. No. 54. Specifically, the Court

dismissed without prejudice Plaintiff's federal and state Equal Protection claims against the

NYRA Defendants. Further, the Court dismissed with prejudice Plaintiff's claims against

OGS, as well as Plaintiff's claims for damages against the State Defendants in their official

capacities. See id.

          On May 24, 2015, Plaintiff filed a motion to amend the complaint, in which it sought to

add the following: (1) four additional defendants; (2) allegations pertinent to the Equal

Protection causes of action which were dismissed without prejudice; (3) facts to identify the

type of forum conceivably relevant to the First Amendment causes of action; (4) "factual

context" in support of the original claims; and (5) allegations concerning the denial of

Plaintiff's application for the 2014 Empire State Plaza Summer Outdoor Lunch Program. See

Dkt. No. 73-1. In a July 28, 2014 Memorandum-Decision and Order, Magistrate Judge

Treece1 granted in part and denied in part Plaintiff's motion to amend. Specifically, Magistrate


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          The Court notes that, upon Magistrate Judge Treece's retirement in September of 2015,
                                                                                       (continued...)
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Judge Treece permitted Plaintiff to add additional facts to provide some context on the

"characteristics and the nature of the fora in which its speech took place," and "to more

accurately reflect the manner in which the First Amendment claims have developed in the

course of the litigation." Id. at 31. Moreover, Plaintiff was permitted to add facts to the

complaint regarding the denial of their application for the 2014 Empire State Plaza Summer

Outdoor Lunch Program. See id. at 32.

        In a stipulation dated January 13, 2015, Plaintiff and the NYRA Defendants indicated

that they had entered into a settlement agreement and, therefore, stipulated to the dismissal of

all claims brought against the NYRA Defendants pursuant to Rule 41 of the Federal Rules of

Civil Procedure. See Dkt. No. 140. Thereafter, in a letter dated January 15, 2015, Plaintiff

informed the remaining Defendants that it "has elected to drop its claims for damages" but

"continues to pursue its claims for declaratory and injunctive relief as well as attorneys' fees

and costs." Dkt. No. 143-1 at 1.

        On July 31, 2015, the parties cross moved for summary judgment on the remaining

claims, which are currently pending before the Court. See Dkt. Nos. 155 & 156.



                                      II. BACKGROUND

A.      The parties

        Plaintiff Wandering Dago, Inc. ("Plaintiff" or "Wandering Dago") is a New York

Corporation. See Dkt. No. 156-2 at ¶ 1. Wandering Dago is owned and operated by Andrea

Loguidice and Brandon Snooks, with Ms. Loguidice serving as the corporation's president.


        1
         (...continued)
this case was reassigned to Magistrate Judge Daniel J. Stewart.
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See id. at ¶ 2. Through Wandering Dago, Inc., Ms. Loguidice and Mr. Snooks operate a food

truck using the "Wandering Dago" brand from which they serve a variety of foods cooked and

prepared on-site in the truck's mobile kitchen. See id. at ¶ 3; see also Dkt. No. 86 at ¶ 5.

Wandering Dago serves food for a variety of types of functions, including catering events, fairs

and festivals, and street-side lunch service. See id. at ¶ 3. Ms. Loguidice and Mr. Snooks

work as the business' co-chefs, with Mr. Snooks also serving as the driver. See Dkt. No. 86 at

¶ 5.

        Defendant RoAnn M. Desito is the Commissioner of OGS. See Dkt. No. 156-2 at ¶ 4.

Defendant Joseph J. Rabito is the Deputy Commissioner of OGS. See id. at ¶ 5. Defendant

William F. Bruso, Jr. is an Associate Attorney working for OGS and Defendant Aaron Walters

is employed as a promotions and public affairs agent for OGS. See id. at ¶¶ 6-7.



B.      The Empire State Plaza

        The Empire State Plaza is a facility owned by the State of New York and operated by

the Office of General Services. See Dkt. No. 156-2 at ¶ 8. The Empire State Plaza includes

multiple state buildings, including the Corning Tower, four agency buildings, the Swan Street

Building, the Legislative Office Building, the Robert Abrams Justice Building, the Egg Center

for Performing Arts, the Cultural Education Center (which contains the State Museum and the

State Library), and the New York State Capitol Building, all of which are connected by an

underground Concourse. See Dkt. No. 157-1 at ¶ 9. The Plaza level of the Empire State Plaza

(the "Plaza") is an outdoor space bounded on the North by State Street, on the South by




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Madison Avenue, on the West by Swan Street, and on the East by a multi-story bulkhead wall.

See Dkt. No. 156-2 at ¶ 10.

       The Plaza is the site of a Farmer's Market on certain weekdays during the summer. See

id. at ¶ 11. Moreover, several special events are held annually on the Plaza. See id. at ¶ 12;

Dkt. No. 157-1 at ¶ 12. Some examples include the African American Family Day, Hispanic

Heritage Month, the Food Festival, and the Fourth of July Festival. See id. Further, the Plaza

is occasionally used by various private groups as a site for political rallies, marches, and

protests. See Dkt. No. 156-2 at ¶ 13; Dkt. No. 157-1 at ¶ 13. According to Defendants,

although "OGS may issue demonstration permits for individuals or organizations that apply to

use the Plaza for political rallies, marches, and protests, the issuance of a demonstration permit

does not equate to OGS sponsorship of the event." Dkt. No. 157-1 at ¶ 13 (citing Rabito Dep.

at 86). The potential offensiveness of a political event is not a basis for the denial of an

application for a political event permit, and signs and speeches are not reviewed in advance.

See Dkt. No. 156-2 at ¶ 14.

       Although OGS issues permits to individuals or organizations that apply for a permit to

demonstrate on OGS-controlled property, such demonstrations sometimes occur without the

individual or group first obtaining a permit. See id. at ¶ 15; Dkt. No. 157-1 at ¶ 15. According

to Defendants, the purpose of the permit "is to provide OGS with notice of the likely size and

location of the demonstration so that OGS can provide adequate services and operational

management. . . ." Dkt. No. 157-1 at ¶ 15. Moreover, both permitted and unpermitted

demonstrations also occur on the Concourse beneath the Plaza. See Dkt. No. 156-2 at ¶ 16.

Unpermitted demonstrations are allowed to continue unless they create a health or safety issue,


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or excess noise that disrupts the workplace. See id. When OGS issues a permit for a political

demonstration to use state property, it does not mean that the State has sponsored the event.

See id. at ¶ 18; Dkt. No. 157-1 at ¶ 18.



C.         The Empire State Plaza Summer Outdoor Lunch Program

           In the Spring of 2013, OGS began planning a program that would allow a limited

number of vendors to sell food items at designated spots on the East Roadway, located on the

east side of the Plaza, between the reflecting pool and the Egg. See Dkt. No. 155-1 at ¶ 1.

Although an outdoor lunch program had been operated in prior years by Sodexo, a private

company which had a contract to provide food services for the Empire State Plaza, Sodexo's

contract was not renewed for 2013, and OGS decided to run its own summer outdoor lunch

program. See id. at ¶ 2; see also Dkt. No. 158-1 at ¶ 2.2 OGS operates the Summer Outdoor

Lunch Program and permits only qualified food vendors to participate in providing food during

lunchtime hours to the State employees and visitors who come to the Capitol and adjacent State

buildings and parks during the summer and early fall months. See Dkt. No. 155-1 at ¶ 3.

           Vendors who seek to participate in the Summer Outdoor Lunch Program must apply

with OGS for a permit, and OGS determines the applicant's eligibility for such participation.

See id. at ¶ 4. The Program was developed and administered by OGS' Special Events Office.

See id. at ¶ 5. The 2013 Summer Outdoor Lunch Program's application states, in pertinent part,

as follows:




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        The Court notes that Defendants contend that OGS sponsored the 2013 Empire State
Plaza Summer Outdoor Lunch Program, while Plaintiff insist that no such sponsorship existed.
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       •      Vendor participation must be confirmed by the New York State Office of
              General Services.

       •      The Office of General Services is soliciting food vendors for the 2013
              Empire State Plaza (ESP) Summer Outdoor Lunch Program to be held
              daily on the Plaza at the Empire State Plaza in Albany, New York. The
              20 week season will run from Monday, May 20th through Friday,
              October 4th.

       •      The Summer Outdoor Lunch Program Package includes: [among other
              things] 20 feet of vending space which includes electrical hookup and
              access to water . . .

       •      The cost for full participation, 5 days a week for 20 weeks, is $1,500.00;
              participation on Wednesdays and Fridays only, for 20 weeks, is
              $1,000.00. All fees are due with your completed application no later
              than May 10, 2013. Interested parties must apply for a vending permit
              and meet all insurance and financial requirements in order to participate
              in the 2013 ESP Outdoor Lunch Program.

       •      Vendors will not be allowed to provide vending services at the Empire
              State Plaza until they are in receipt of written approval of their
              application to participate in the Outdoor Lunch Program.

Dkt. No. 155-1 at ¶ 6. Moreover, Appendix "A" of the application form, which is entitled

"Rules for the Empire State Plaza Vendor Participation," includes, among other things, the

following language:

       •      Unless prior arrangements have been made with OGS, all vendors are
              expected to complete the entire season.

       •      Vending hours are from 9:00 a.m. – 2:00 p.m. Vendors will not be
              allowed to sell prior to or after these hours.

       •      Each vendor will be assigned a specific vending location; all space
              assigned will be at the discretion of OGS.

       •      The sale or distribution of products other than food or beverage items is
              prohibited.

       •      Vendors may only sell menu items approved by the Albany County
              Department of Health and permitted per the Vendor's vending permit for

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              the ESP Outdoor Lunch Program. Vendors wishing to add additional
              items to their menu must request approval from the Albany County
              Department of Health and provide OGS' Bureau of Food Services with a
              copy of the revised permit. OGS reserves the right to prohibit the sale,
              display or distribution of certain items if, in its sole opinion, these items
              may reasonably cause concern such as public safety.

       •      All vendors are expected to conduct themselves with courtesy and in an
              orderly manner. Arguments, harassment, sexual harassment,
              name-calling, profane language, or fighting are grounds for revocation of
              the vendor permit.

       •      OGS reserves the right to change the location, dates, hours, or to
              terminate entirely the operation of the program at any time and without
              prior notice to the vendor.

       •      Vendors will not refer to themselves as "sponsor," "co-sponsor" or other
              terms conferring status other than of a participant.

Dkt. No. 155-1 at ¶ 7.

       The "Plaza Vendor Permit Agreement for Empire State Plaza Vendors," which was part

of the application for the Summer Outdoor Lunch Program, provides the following language:

                     WHEREAS, OGS has management supervision over the
              general domain of the food service operations at the Empire State
              Plaza (hereinafter referred to as "Plaza"),

                      WHEREAS, the State is interested in having food vendors
              take part in a lunchtime food vending program for the sale and
              distribution of food/beverage products and services[,]

                     WHEREAS, OGS will be operating such a food vending
              program, by subcontracting some or all of the responsibilities
              therefore to various independent food vendors, and

                     WHEREAS, the Vendor wishes to sell these products in
              those areas and during those times OGS hereinafter designates.

Dkt. No. 155-3 at 16.




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           The Summer Outdoor Lunch Program was created by OGS for the purpose of providing

lunch options to State employees and visitors to the Empire State Plaza. See id. at ¶ 8.

According to Defendants, the Summer Outdoor Lunch Program "was created as an extension

of the cafeteria services at the ESP in order to meet the practical need to provide summer

outdoor lunch options, to the approximately 11,000 State employees who work at ESP, as well

as visitors to the Capitol, State Museum, performing arts center (The Egg), and the various

monuments and memorial[s] at ESP." Id. at ¶ 9. Plaintiff, however, contends that the Summer

Outdoor Lunch Program is not "an extension of the cafeteria services at the ESP." Dkt. No.

158-1 at ¶ 9.

           According to Heather Flynn, who is OGS' Director of Convention and Cultural Events,

to promote the Summer Outdoor Lunch Program, OGS informed the public about the Program

in several different ways. See Dkt. No. 152-4 at 3, 27-31. For example, OGS utilized "blast

email advertising" which involved OGS' "sponsorship department" sending emails to a list of

recipients who provided their email addresses so that they could be informed of upcoming

events and programs at the Empire State Plaza. See id. Moreover, the Summer Outdoor Lunch

Program was advertised on the Empire State Plaza's closed-circuit television system, which is

located throughout the Concourse. See id. at 30. Also, OGS promoted the Program on its

Facebook page and other social media websites. See id. at 31. Further, in an effort to attract

vendors to the Summer Outdoor Lunch Program, OGS engaged in a "Vendor Outreach

Program." Id. at 33. Some such outreach activities included posting on Steve Barnes' blog3 in




       3
         Steve Barnes is a Senior Writer and restaurant critic with the Times Union, and posts
regularly in his blog entitled "Table Hopping," which is featured in the Times Union.
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the primary newspaper serving the Capital District and through advertising the opportunity on

social media websites. See id. at 33-36.



D.      Plaintiff's application for the 2013 Summer Outdoor Lunch Program

        On February 27, 2013, Ms. Loguidice contacted OGS on behalf of Wandering Dago

and inquired about participating in the 2013 Summer Outdoor Lunch Program. See Dkt. No.

158-1 at ¶ 31. Wandering Dago was planning to be a food vendor at the Saratoga Race Track

for the 2013 race season, which ran from mid-July through Labor Day. See id. at ¶ 32. Ms.

Loguidice inquired as to whether Wandering Dago could apply for a permit to participate in the

Summer Outdoor Lunch Program even though it would not be able to participate for

approximately six (6) weeks during the race season. See id. at ¶ 33. On Friday, May 10, 2013,

Aaron Walters of OGS' Special Events Office left a voicemail message for Ms. Loguidice

advising her that Wandering Dago could apply for the Program, even though it would not be

present during the track season. See id. at ¶ 34.

        On Monday, May 13, 2013, Ms. Loguidice called Mr. Walters and asked whether

Wandering Dago could receive a discount on the permit fee because it would not be

participating in the entire Summer Outdoor Lunch Program. See id. at ¶ 35. Mr. Walters

advised that there would be no discount and Ms. Loguidice indicated that she would need to

speak with her investor before making a determination as to whether Wandering Dago would

apply for the Program. See id. at ¶ 36. At this point, Mr. Walters advised Ms. Loguidice that

Wandering Dago had until May 17, 2013 to apply. See id. at ¶ 37.




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       On May 15, 2013, Ms. Loguidice emailed Mr. Walters and stated that Wandering Dago

would submit an application to participate on Wednesdays and Fridays in the Summer Outdoor

Lunch Program. See id. at ¶ 38. On Friday, May 17, 2013, Ms. Loguidice faxed Wandering

Dago's application to OGS. See id. at ¶ 39. However, Appendix B of the application was not

included in the fax. See id. Appendix B includes, among other things, the vendor's contact

information and tax identification number, vending details such as whether the vendor will

participate five days a week or on Wednesdays and Fridays only, the type of vending

operation, the space required, and the applicant's electrical needs. See id. at ¶ 40. Ms.

Loguidice signed the Plaza Vendor Permit Agreement for Empire State Plaza Vendors as

president of Wandering Dago, Inc. See id. at ¶ 41. Wandering Dago's application included its

proposed menu, entitled "Wandering Dago Food Truck Spring Menu." Id. at ¶ 42. The menu

included sandwiches with the following names: "Dago," "Castro," "American Idiot," "Mick

and Cheese," "Goombah," "Guido," "Polack," "El Guapo," and "KaSchloppas." Id.

       At some point after receiving Wandering Dago's application, OGS employee Jason

Rumpf provided OGS Director of Convention and Cultural Events Heather Flynn and OGS

Associate Commissioner for Operations Jason Cavazos with a list of the applicants. See Dkt.

No. 158-1 at ¶ 43. Mr. Cavazos and OGS Public Information Officer Heather Groll inquired of

OGS Executive Deputy Commissioner Joseph Rabito what he thought about a vendor named

"Wandering Dago" participating in the 2013 Summer Outdoor Lunch Program. See id. at ¶ 44.

Defendants contend that Defendant Rabito recognized the term "dago" as "a highly offensive

term for Italians and his initial reaction was that the application would not be approved." Dkt.




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 No. 155-1 at ¶ 45; Dkt. No. 158-1 at ¶ 45.4 Defendant Rabito decided to double-check his

 understanding of the term to make sure that he was not mistaken as to its offensive meaning.

 See id. at ¶ 46. Defendant Rabito conducted a computer search of the term "dago," which not

 only confirmed that it is an offensive derogatory term, but also revealed that it has been used to

 refer to people of Spanish and Portuguese descent, as well as Italians. See id. at ¶ 47.

 Moreover, Defendant Rabito searched Wandering Dago's website and learned that its menu

 items also had offensive names, such as "Polack" and "Mick and Cheese," which "are slurs

 against people of Polish and Irish descent, respectively." Id. at ¶ 48. According to Defendants,

 Mr. Rabito "denied Wandering Dago's application on the grounds that its name contains an

 offensive ethnic slur and does not fit with OGS' policy of providing family-friendly

 programming." Dkt. No. 155-1 at ¶ 49. Plaintiff, however, contends that Defendant Rabito

 denied the application because he found the name to be offensive and argues that "he did not

 refer to any statute[,] regulation, policy, or other source of guidance in making his decision."

 Dkt. No. 158-1 at ¶ 49. Further, Plaintiff argues that there "is no evidence in the record to

 support Defendants' claim that OGS had an overall policy that events at the ESP be 'family

 friendly.'" Id. When Defendant Rabito made the decision to deny Wandering Dago's

 application, he did not consider any other grounds upon which it could have been denied, such

 as lateness or lack of completeness. See id. at ¶ 50. Defendant Rabito believed that the

 offensive nature of Plaintiff's name alone was sufficient reason to not issue a permit, even if the

 application had been acceptable in all other respects. See id.


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          The Court notes that Plaintiff does not dispute the statements contained in paragraphs
forty five through forty eight of Defendants' statement of material facts "to the extent that the
statement reflects Rabito's opinion and his personal reasons for denying Plaintiff's application."
Dkt. No. 158-1 at ¶¶ 45-48.
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       Later in the day on May 17, 2013, Defendant Walters was directed to advise all

applicants, other than Wandering Dago, that they had been accepted into the 2013 Summer

Outdoor Lunch Program as vendors. See id. at ¶ 51; Dkt. No. 155-5 at ¶ 17. According to

Defendant Walters, at some point after May 17, 2013, he participated in a conversation with

Heather Flynn and Jason Rumpf, in which he learned that the name "Wandering Dago" was the

basis for the denial of the application. See id. at ¶ 18. Defendants claim that Plaintiff was the

only applicant to the 2013 Summer Outdoor Lunch Program that had a name which contained a

derogatory ethnic or offensive term as part of its name. See Dkt. No. 155-1 at ¶ 53. Plaintiff,

however, contends that the truck "Slidin' Dirty" was granted access to the program. See Dkt.

No. 158-1 at ¶ 53. According to Plaintiff, "Slidin' Dirty is an obvious riff using the word

'slider,' which means a small hamburger or sandwich, and the phrase 'ridin' dirty,' defined by

the Urban Dictionary as 'driving in an automobile while having at least a felony charge worth

of illegal drugs and[/]or unregistered firearms with you.'" Id. (quoting

URBANDICTIONARY.COM, Definition of "ridin dirty," available at

http://www.urbandictionary.com/define.php?term=ridin+dirty (last visited February 25, 2016)).

Further, Plaintiff argues that "Slidin' Dirty evokes the song "Ridin'," which repeats the phrase

"ridin' dirty" more than forty times in its chorus while describing a person driving under the

influence of alcohol while using drugs and carrying a handgun." Id. (quoting

METROLYRICS.COM, Lyrics to "Ridin'" by Chamillionaire featuring Krayzie Bone,

http://www.metrolyrics.com/ridin-lyrics-chamillionaire.html (last visited February 25, 2016)).

       Defendant Bruso, an attorney in OGS Counsel's Office, was asked to draft or review

language advising Wandering Dago that its application had been denied. See Dkt. No. 158-1 at


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¶ 55. Defendant Bruso obtained a copy of Wandering Dago's application and reviewed it for

additional grounds upon which it may have been denied. See id. at ¶ 56. According to

Defendants, Defendant Bruso determined that, in addition to the reason provided by Defendant

Rabito, the application could be denied on the grounds that it was late and incomplete. See id.

at ¶ 57.

           On Monday, May 20, 2013, Ms. Loguidice emailed Defendant Walters and inquired as

to the status of Wandering Dago's application. See id. at ¶ 58. Defendant Walters responded

by stating that OGS "is unable to accommodate your application for space" in the 2013

Summer Outdoor Lunch Program. See id. at ¶ 59. Upon receiving Defendant Walters'

response, Ms. Loguidice contacted him for additional information regarding the denial and was

advised to contact Defendant Bruso in OGS Counsel's Office for further information. See id. at

¶¶ 60-61. On May 20, 2013, during a telephone conversation, Defendant Bruso advised Ms.

Loguidice that there were several reasons why the application was denied: it was late, it was

incomplete, and the name Wandering Dago was determined to be offensive. See id. at ¶ 62.

Thereafter, Ms. Loguidice asked Defendant Bruso to send her a letter regarding the denial of

Wandering Dago's application, which he declined to do at that time. See id. at ¶¶ 63-64.

           On or about May 21, 2013, during a regularly scheduled morning meeting, Defendant

Rabito advised OGS Commissioner Defendant Desito of his decision to deny Wandering

Dago's application to the 2013 Summer Outdoor Lunch Program. See id. at ¶ 66. Although

Defendants contend that Defendant Desito was not involved in the decision to deny the

application, Plaintiff contends that, as the Commissioner of OGS, Defendant Desito had the




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authority to overrule the decision, and declined to exercise her authority to do so. See Dkt. No.

155-1 at ¶ 67; Dkt. No. 158-1 at ¶ 67.

        On or about May 31, 2013, Ms. Loguidice, acting as legal counsel to Wandering Dago,

sent Defendant Bruso a letter requesting a written explanation of the denial. See Dkt. No. 158-

1 at ¶ 68. On July 1, 2013, Defendant Bruso responded, stating that the grounds for the denial

had been explained on May 20, 2013. See id. at ¶ 69. Specifically, the letter sent by Defendant

Bruso provides as follows:

               On May 20, 2013 you were advised by an email from Aaron
               Walters that your firm's application was denied. A copy of that
               email is enclosed herewith for your easy reference. In addition, I
               conveyed to you by telephone on May 20, 2013, OGS' several
               reasons for its denial of your firm's application. This denial was
               made pursuant to the terms of the Food Vendor Application
               packet, as well as OGS' Facility Use and Use of State Property
               regulations, which are located in Parts 300 and 301, respectively,
               of Title 9 of the New York Codes, Rules and Regulations.

Dkt. No. 156-2 at ¶ 43.



E.      The 2014 Summer Outdoor Lunch Program

        In the fall of 2013, the Special Events Office of OGS adopted new criteria for outside

vendors for events and programs. See Dkt. No. 156-2 at ¶ 60. Under the new procedure, each

event or program would have a set of explicit criteria by which applications would be scored,

and explicit cutoffs to determine who is or is not accepted. See id. at ¶ 61.

        On May 5, 2014, Wandering Dago hand delivered an application for the 2014 Summer

Outdoor Lunch Program to the OGS Special Events Office. See id. at ¶ 62. Wandering Dago's

2014 application was complete and timely. See id. at ¶ 64.


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        Plaintiff's application was reviewed by OGS employees designated as the selection

committee, and was scored and received a passing score sufficient for acceptance into the

program. See id. at ¶ 64. Nevertheless, the decision was made to again deny the application.

See id. at ¶ 65. Wandering Dago received a letter from Defendant Bruso, dated May 16, 2014,

informing it that its application had been denied "due to your firm's name as previously

described," which was consistent with the decision made by Defendant Rabito in 2013. See

id. at ¶ 66; see also Dkt. No. 155-1 at ¶ 73. Aside from Wandering Dago, every other

complete application was accepted into the 2014 Summer Outdoor Lunch Program. See Dkt.

No. 156-2 at ¶ 67. By the time that Wandering Dago's application for the 2014 Summer

Outdoor Lunch Program was submitted and denied, the parties were actively litigating this

case. See Dkt. No. 155-1 at ¶ 72.



F.      The pending motions for summary judgment

        1. Defendants' motion for summary judgment

        In their motion for summary judgment, Defendants first argue that the denial of

Plaintiff's application for a vendor permit did not violate its First Amendment right to free

speech. See Dkt. No. 155-9 at 11-20. Defendants contend that the Court has already identified

the relevant forum as the Empire State Plaza Summer Outdoor Lunch Program, and not the

greater Empire State Plaza upon which the Program is physically located. See id. at 16 (citing

Dkt. No. 54 at 2-3). In light of this finding, Defendants argue that the relevant forum is a

nonpublic forum because it is not a park or a street, or similar space, which has been held in

trust for the public for the purposes of assembly, communicating thoughts, or discussing public


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questions. See id. Rather, the participation in the Program is not open to the public in general

and was created by OGS in 2013 "for the sole purpose of providing lunch options to State

employees and visitors to the ESP." Id. According to Defendants, the forum is nonpublic

because the government did not open the forum for expressive activity by members of the

public. See id. at 18. Instead, "the forum was created by the government acting not as rule

maker or legislator, but as property owner and employer and, as such, the government has wide

discretion and control over the management of its workplace." Id. at 18 (citing Enquist, 553

U.S. at 598). As such, Defendants argue that the restrictions on speech at issue were

"'reasonable in light of the purpose of the forum and all surrounding circumstances'" and,

therefore, permissible under the First Amendment. See id. (quoting Cornelius, 473 U.S. at

809).

        As to Plaintiff's Fourteenth Amendment Equal Protection claim, Defendants argue that

the claim fails as a matter of law. See id. at 21. First, Defendants contend that Plaintiff cannot

establish that it was treated differently than any other similarly situated individual because no

other applicant to the 2013 or 2014 Summer Outdoor Lunch Program had a name which

contained a derogatory ethnic term, or any other offensive term in violation of OGS' family-

friendly policy. See id. at 21-22. Second, even if Plaintiff could establish that it was treated

differently than other similarly situated entities, Defendants argue that Plaintiff "cannot prove

that such differential treatment was based on impermissible considerations such as race,

religion, intent to inhibit or punish the exercise of constitutional rights, or malicious or bad

faith intent to injure a person." Id. at 22. Defendants assert that any argument that they acted

in bad faith is undercut by the fact that both Ms. Loguidice and Mr. Snooks "testified that, on


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May 20, 2013, they understood that the application had been denied because of the offensive

nature of Wandering Dago's name." Id. at 22-23.

       As to the New York State equal protection and freedom of speech claims, Defendants

contend that they are subject to the same analysis as their federal counterparts and, therefore,

subject to dismissal for the same reasons. See id. at 23. Finally, Defendants argue that the

claims against Defendant Destito should be dismissed for lack of personal involvement. See id.

at 23-24.



       2. Plaintiff's motion for summary judgment

       In its motion for summary judgment, Wandering Dago contends Defendants actions

were impermissible under the First Amendment in any forum. See Dkt. No. 156-1 at 10-17.

Specifically, Wandering Dago argues that Defendant Rabito's decision to deny its application

was "an exercise of pure, unbridled discretion on the basis of his own belief that its name was

offensive." Id. at 11. Plaintiff contends that such an exercise of "unbridled discretion" by

government officials in restricting speech is prohibited under the First Amendment, regardless

of the forum, because the absence of any clearly-articulated, consistently-enforced policy

creates too great a danger of censorship and abridgement of First Amendment freedoms. See

id. at 11-13. Further, Plaintiff contends that, regardless of the type of forum, Defendants'

conduct was unconstitutional viewpoint discrimination. See id. at 17-20. Assuming there was

a policy in place concerning speech for the Summer Outdoor Lunch Program, Plaintiff argues

that "prohibiting language deemed to be derogatory toward an ethnicity or nationality, while

allowing speech that references ethnicity in a neutral or positive way, is classic viewpoint


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discrimination." Id. at 18. Further, Plaintiff asserts that, regardless of the forum, the denial of

its application was unreasonable because the speech at issue is not in any way inconsistent with

the nature of the forum. See id. at 20-21.

        Next, Plaintiff argues that the Empire State Plaza is a quintessential public forum

because it is "an open public space adjacent to public buildings, and is both a pedestrian

thoroughfare and a public park." Id. at 22. Further, Plaintiff contends that, even if the Court

finds that it is not a traditional public forum, the Empire State Plaza is a designated public

forum because the government allows speech to occur there without delineating the types of

speech that are allowed. See id. at 23-24. Finally, Plaintiff argues that, when "regulating

commercial speech in a public forum, the government must meet the demanding Central

Hudson standard, under which lawful and non-misleading speech cannot be regulated unless

the regulation directly advances a substantial government interest and is not more extensive

than necessary to serve that interest." Id. at 27. Plaintiff claims that "Defendants cannot

remotely meet this standard and have not even tried." Id.



                                        III. DISCUSSION

A.      Standard

        A court may grant a motion for summary judgment only if it determines that there is no

genuine issue of material fact to be tried and that the facts as to which there is no such issue

warrant judgment for the movant as a matter of law. See Chambers v. TRM Copy Ctrs. Corp.,

43 F.3d 29, 36 (2d Cir. 1994) (citations omitted). When analyzing a summary judgment

motion, the court "cannot try issues of fact; it can only determine whether there are issues to be


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tried." Id. at 36-37 (quotation and other citation omitted). Moreover, it is well-settled that a

party opposing a motion for summary judgment may not simply rely on the assertions in its

pleading. See Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986) (quoting Fed. R. Civ. P.

56(c), (e)).

        In assessing the record to determine whether any such issues of material fact exist, the

court is required to resolve all ambiguities and draw all reasonable inferences in favor of the

nonmoving party. See Chambers, 43 F.3d at 36 (citing Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 255 (1986)) (other citations omitted). Where the non-movant either does not respond

to the motion or fails to dispute the movant's statement of material facts, the court must be

satisfied that the citations to evidence in the record support the movant's assertions. See

Giannullo v. City of N.Y., 322 F.3d 139, 143 n.5 (2d Cir. 2003) (holding that not verifying in

the record the assertions in the motion for summary judgment "would derogate the truth-

finding functions of the judicial process by substituting convenience for facts").



B.      42 U.S.C. § 1983

        Section 1983 imposes liability for "conduct which 'subjects, or causes to be subjected'

the complainant to a deprivation of a right secured by the Constitution and laws." Rizzo v.

Goode, 423 U.S. 362, 370-71 (1976) (quoting 42 U.S.C. § 1983). Not only must the conduct

deprive the plaintiff of rights and privileges secured by the Constitution, but the actions or

omissions attributable to each defendant must be the proximate cause of the injuries and

consequent damages that the plaintiff sustained. See Brown v. Coughlin, 758 F. Supp. 876,

881 (S.D.N.Y. 1991) (citing Martinez v. California, 444 U.S. 277, 100 S. Ct. 553, 62 L. Ed. 2d


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481, reh. denied, 445 U.S. 920, 100 S. Ct. 1285, 63 L. Ed. 2d 606 (1980)). As such, for a

plaintiff to recover in a section 1983 action, he must establish a causal connection between the

acts or omissions of each defendant and any injury or damages he suffered as a result of those

acts or omissions. See id. (citing Givhan v. Western Line Consol. Sch. Dist., 439 U.S. 410, 99

S. Ct. 693, 58 L. Ed. 2d 619 (1979)) (other citation omitted).



C.      First Amendment jurisprudence

        From the beginning of this case, the parties and, as a consequence, the Court, have

treated this case as involving the First Amendment forum jurisprudence. From the outset,

however, the Court has struggled with the idea that this case does not neatly fit within that

framework; or any other First Amendment framework for that matter. For instance, many

aspects of this case more closely fit within the confines of government employee/contractor

law. In fact, Defendants have maintained that the Summer Outdoor Lunch Program is merely

an extension of the cafeteria services that they provide in the Concourse of the Empire State

Plaza. Moreover, the "Plaza Vendor Permit Agreement for Empire State Plaza Vendors,"

which was part of the application for the 2013 Summer Outdoor Lunch Program, provides the

following language: "WHEREAS, OGS will be operating such a food vending program, by

subcontracting some or all of the responsibilities therefore to various independent food

vendors[.]" Dkt. No. 155-3 at 16 (emphasis added). As such, despite the fact that Wandering

Dago was seeking permission to sell its food within the physical confines of what is

undisputedly a traditional public forum, i.e., the Empire State Plaza, its position as a potential

contractor with OGS makes the application of the forum analysis less straightforward.


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       Plaintiff has also suggested that this case should be analyzed under the Central Hudson

framework for cases involving commercial speech. Again, however, the cases upon which

Plaintiff has relied are clearly distinguishable and the present matter does not fit cleanly within

the existing framework. For example, in Bad Frog Brewery, Inc. v. New York State Liquor

Auth., 134 F.3d 87 (2d Cir. 1998), the plaintiff made an application with the New York State

Liquor Authority ("NYSLA") for brand label approval and registration, which the NYSLA

denied because the label contained a frog with the second of its four unwebbed "fingers"

extended in a manner evocative of a well-known human gesture of insult. See id. at 90.

Without this approval, the plaintiff was not permitted to sell its beer at any location in the state.

The Second Circuit concluded that the image of the frog was commercial speech, and the First

Amendment Central Hudson framework applied. See id. at 98-101. Applying Central

Hudson, the Second Circuit determined that the State had substantial interest in regulating the

speech, but that the defendant did not show "that its denial of Bad Frog's application directly

and materially advance[d] . . . its state interests" and that the prohibition was more extensive

than necessary to advance the State's interests. Id. at 100-01.

       Bad Frog Brewery involved the State denying the plaintiff a license for permission to

sell its beer anywhere in the State, not simply on property owned by the State. Here, however,

Plaintiff asserts that Defendants violated the First Amendment when they prohibited Plaintiff

from conducting its business on property owned by the State, during an event sponsored by the

State. As the Supreme Court has repeatedly held, "there is a crucial difference, with respect to

constitutional analysis, between the government exercising 'the power to regulate or license, as

lawmaker,' and the government acting 'as proprietor, to manage [its] internal operation.'"


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Engquist v. Oregon Dept. of Agr., 553 U.S. 591, 598 (2008) (quoting Cafeteria & Restaurant

Workers v. McElroy, 367 U.S. 886, 896, 81 S. Ct. 1743, 6 L. Ed. 2d 1230 (1961)). Had

Plaintiff been denied permission to register with the state as a domestic business corporation

under Wandering Dago, Inc., application of the Central Hudson framework would be

appropriate. Plaintiff's one paragraph, conclusory assertion characterizing the present matter as

involving a "licensing scheme" is simply unavailing.

       Moreover, the argument could be made that the speech at issue should be considered

"government speech" and, therefore, not protected by the First Amendment. If the speech at

issue is considered government speech – or, more specifically, an attempt to compel the

government to speak – then Defendants could permissibly engage in viewpoint discrimination.

In fact, Plaintiff relies upon several cases in which the plaintiffs had challenged government

regulations involving specialty license plates. See, e.g., Dkt. No. 156-1 at 13 (discussing

Children First Found., Inc. v. Fiala, 790 F.3d 328 (2d Cir. 2015)). In these cases, generally

the lower courts had found that specialty license plates were private speech subject to the First

Amendment forum analysis. In Walker v. Texas Div., Sons of Confederate Veterans, Inc., 135

S. Ct. 2239 (2015), however, the Supreme Court held that the designs on specialty license

plates are government speech not subject to the First Amendment. Although the application of

this doctrine may seem like more of a stretch, the following hypothetical may help put into

perspective the Court's rationale as to why both the employee/contractor speech and

government speech doctrines are relevant. Sodexo's contract with OGS to provide food service

in the Concourse expired in 2013 and it was not renewed. As such, the food services for the

Concourse at this point were handled by a number of individual restaurants, including, among


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others, Phil's Kitchen, Pho Yum, 'Merican Band Wagon, Capital Q Smokehouse, McDonald's

and Subway. See http://blog.timesunion.com/capitol/archives/200013/ogs-announces-new-esp-

food-vendors- fate-of-capitol-deli-remains-an-enigma/ (last visited February 25, 2016). Had

Wandering Dago submitted an application/bid to become one of the new vendors in the

Concourse of the Empire State Plaza, would the First Amendment require the State to accept

the application of this restaurant with a racial epithet as part of its name, assuming that

Wandering Dago otherwise met all of the relevant qualifications? Whether its considered

employee/contractor or government speech, should the State be forced to prominently display

racially offensive language in its buildings simply because it may not have had the foresight to

set forth guidelines that specifically prohibit the use of racial epithets in the names of the

businesses/contractors who apply to participate in the program?

       Since the Court does not believe that the facts of this case fit cleanly within any of the

existing First Amendment jurisprudence, the Court will analyze Plaintiff's First Amendment

claim under the forum, employee/contractor speech, and government speech jurisprudence.

Whatever the appropriate analysis, the end result is the same.



       1. General principles

       The First Amendment states that "Congress shall make no law . . . abridging the

freedom of speech." U.S. CONST. AMEND. I. "[T]he First Amendment means that government

has no power to restrict expression because of its message, its ideas, its subject matter, or its

content." Police Dept. of City of Chicago v. Mosley, 408 U.S. 92, 95 (1972). It is "common

ground" that the First Amendment "does not guarantee the right to communicate one's views at


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all times and places or in any manner that may be desired." Heffron v. Int'l Society for Krishna

Consciousness, 452 U.S. 640, 647 (1981). A violation occurs only when the restricted speech

is constitutionally protected and when the government's justification for the restriction is

insufficient. See Frisby v. Schultz, 487 U.S. 474, 479 (1988).

       "Premised on mistrust of governmental power, the First Amendment stands against

attempts to disfavor certain subjects or viewpoints." Citizens United v. Fed. Election Comm'n,

558 U.S. 310, 340 (2010). Accordingly, governmental "[r]estrictions on speech based on its

content are 'presumptively invalid' and subject to strict scrutiny." Ysursa v. Pocatello Educ.

Ass'n, 555 U.S. 353, 358 (2009) (quoting R.A.V. v. City of St. Paul, 505 U.S. 377, 382, 112 S.

Ct. 2538, 120 L. Ed. 2d 305 (1992)).

       It is axiomatic that "the protections afforded by the First Amendment . . . are not

absolute" and "the government may regulate certain categories of expression consistent with

the Constitution." Virginia v. Black, 538 U.S. 343, 358 (2003). The government, acting as

sovereign, may regulate certain categories of expression "because of their constitutionally

proscribable content (obscenity, defamation, etc.). . . ." R.A.V., 505 U.S. at 383 (emphasis

omitted); see also, e.g., Chaplinsky v. New Hampshire, 315 U.S. 568, 571-72 (1942) ("There

are certain well-defined and narrowly limited classes of speech, the prevention and punishment

of which have never been thought to raise any Constitutional problem"). And, where the

government acts in a non-sovereign capacity, it may be entitled or even required to consider the

content of an individual's speech in its in decision-making, such as when the government acts

as the owner/proprietor of real property or a conceptually analogous forum, see Christian Legal

Soc'y v. Martinez, 561 U.S. 661, 679 (2010) (citing cases), or as an employer, see Pickering v.


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Bd. of Educ., 391 U.S. 563, 568 (1968), or as an educator, see Bethel Sch. Dist. No. 403 v.

Fraser, 478 U.S. 675, 685 (1986). In short, the Free Speech Clause "does not leave people at

liberty to publicize their views whenever and however and wherever they please." Wood v.

Moss, ––– U.S. ––––, 134 S. Ct. 2056, 2066 (2014) (quotations omitted).



       2. Forum analysis

       The Supreme Court has set forth a three-step, forum-based test for determining whether

a state actor violated a plaintiff's First Amendment right to free speech. See Cornelius v.

NAACP Legal Def. & Educ. Fund, 473 U.S. 788, 797 (1985). Pursuant to this test, the court

must determine "(1) whether plaintiff's speech is protected by the First Amendment; (2) the

nature of the forum: public, designated or limited public, or nonpublic; and (3) whether the

defendant's justifications for limiting the plaintiff's speech satisfy the requisite standard."

Piscottano v. Town of Somers, 396 F. Supp. 2d 187, 200 (D. Conn. 2005) (citing Cornelius v.

NAACP Legal Defense & Educational Fund, 473 U.S. 788, 797, 105 S. Ct. 3439, 87 L. Ed. 2d

567 (1985)).



               a. Protected speech

       The First Amendment's protection of free speech, made applicable to the states through

the Fourteenth Amendment, extends to a broad range of speech and expressive conduct. See,

e.g., Hurley v. Irish-American Gay, Lesbian and Bisexual Group of Boston, 515 U.S. 557

(1995). Speech on public issues and political matters lies at the heart of protected speech. See




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Morris v. Lindau, 196 F.3d 102, 111 (2d Cir. 1999), abrogated on other grounds by Lore v.

Syracuse, 670 F.3d 127 (2d Cir. 2012).

       It is unclear whether Defendants take the position that Plaintiff has not engaged in

protected speech, as they did in support of their motion to dismiss. Any such argument,

however, is easily rejected. As the Court explained in its decision denying in part and granting

in part Defendants' motion to dismiss, Plaintiff's corporate name, i.e. Wandering Dago, is a

form of expressive speech protected under the First Amendment for purposes of the forum

analysis. See Kalman v. Cortes, 723 F. Supp. 2d 766, 798-99 (E.D. Pa. 2010) (finding that a

corporation's name is expressive speech protected under the First Amendment).



               b. The relevant forum

       Plaintiff contends that the Empire State Plaza is the relevant forum, which is necessarily

a traditional public forum. See Dkt. No. 156-1 at 10, 21-26. Plaintiff argues that the policies,

location and physical characteristics of the Empire State Plaza dictate that it is a traditional

public forum or, at the very least a designated public forum. See id.

       In its January 15, 2014 Memorandum-Decision and Order, the Court found that, based

on the allegations in the complaint, the relevant forum was not the Empire State Plaza in toto as

the parties had assumed. See Wandering Dago, Inc. v. N.Y.S. Office of Gen. Servs., 992 F.

Supp. 2d 102, 120 (N.D.N.Y. 2014). Rather, the Court found that the relevant forum is the

more limited Empire State Plaza Summer Outdoor Lunch Program, which happens to take

place within the grounds that comprise the Empire State Plaza. See id. (citing Calvary Chapel

Church, Inc. v. Broward County, Fla., 299 F. Supp. 2d 1295, 1301 (S.D. Fla. 2003) (finding


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that the "Holiday Fantasy of Lights," an annual event hosted by the county that ran from just

before Thanksgiving day to the middle of January, was the relevant forum, not the Tradewind

Park in which the event takes place)). Now, with the benefit of a fully developed record,

contrary to Plaintiff's arguments, the Court finds that it correctly determined that the relevant

forum is the Summer Outdoor Lunch Program, which takes place on the Empire State Plaza.

       The case law makes clear that even when a piece of government property may not be a

public forum, channels for public communication – or alternative fora – may well exist within

the greater piece of government property. See Air Line Pilots Ass'n, Int'l v. Dep't of Aviation,

45 F.3d 1144, 1151-52 (7th Cir. 1995). For example, in Cornelius, the Supreme Court was

asked to "decide whether the Federal Government violates the First Amendment when it

excludes legal defense and political advocacy organizations from participation in the Combined

Federal Campaign (CFC or Campaign), a charity drive aimed at federal employees."

Cornelius, 473 U.S. at 790. The CFC is an annual charitable fund-raising drive conducted in

the federal workplace during working hours largely through the voluntary efforts of federal

employees. See id. In attempting to define the relevant forum, the petitioner argued that a

"First Amendment forum necessarily consists of tangible government property" and that

"[b]ecause the only 'property' involved here is the federal workplace, . . . the workplace

constitutes the relevant forum." Id. at 800-01. In contrast, the respondents argued that the

forum should be defined in terms of the access sought by the speaker. See id. at 801. "Under

their view, the particular channel of communication constitutes the forum for First Amendment

purposes." Id.




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       Agreeing with the respondents, the Supreme Court held that the relevant forum was the

CFC, not the entirety of the federal workplace where the CFC takes place. See id.

Specifically, the Court found that

               [a]lthough petitioner is correct that as an initial matter a speaker
               must seek access to public property or to private property
               dedicated to public use to evoke First Amendment concerns,
               forum analysis is not completed merely by identifying the
               government property at issue. Rather, in defining the forum we
               have focused on the access sought by the speaker. When
               speakers seek general access to public property, the forum
               encompasses that property. See, e.g., Greer v. Spock, [424 U.S.
               828 (1976)]. In cases in which limited access is sought, our cases
               have taken a more tailored approach to ascertaining the
               perimeters of a forum within the confines of the government
               property. For example, Perry Education Assn. v. Perry Local
               Educators' Assn., . . . examined the access sought by the speaker
               and defined the forum as a school's internal mail system and the
               teachers' mailboxes, notwithstanding that an "internal mail
               system" lacks a physical situs. Similarly, in Lehman v. City of
               Shaker Heights, 418 U.S. 298, 300, 94 S. Ct. 2714, 2715, 41 L.
               Ed. 2d 770 (1974), where petitioners sought to compel the city to
               permit political advertising on city-owned buses, the Court
               treated the advertising spaces on the buses as the forum. Here, as
               in Perry Education Assn., respondents seek access to a particular
               means of communication. Consistent with the approach taken in
               prior cases, we find that the CFC, rather than the federal
               workplace, is the forum. This conclusion does not mean,
               however, that the Court will ignore the special nature and
               function of the federal workplace in evaluating the limits that may
               be imposed on an organization's right to participate in the CFC.

Cornelius, 473 U.S. at 801-02 (citation omitted).

       The Supreme Court's holding in Cornelius makes clear that Plaintiff is attempting to

define the relevant forum too broadly. As the Court previously explained, if the license at issue

was to sell food at the Empire State Plaza at any time, throughout the entire year, as opposed to

a sponsored program of a more limited nature, the result may be different. However, Plaintiff


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submitted an application to be a vendor during the 2013 and 2014 Empire State Plaza Summer

Outdoor Lunch Program. The Program ran for twenty weeks each year and vending hours

were limited from 9:00 a.m. to 2:00 p.m. Businesses wishing to participate in the program

were required to pay between $1,000.00 and $1,500.00. Finally, the application contained the

condition that "[a]ll vendors are expected to conduct themselves with courtesy and in an

orderly manner. Arguments, harassment, sexual harassment, name-calling, profane language,

or fighting are grounds for revocation of the vendor permit." Considering all of the undisputed

facts, the Court finds that the relevant forum is the Empire State Plaza Summer Outdoor Lunch

Program, not the Empire State Plaza in toto. See Air Line Pilots Ass'n, Int'l, 45 F.3d at

1151-52 (holding that where the speaker seeks access to diorama display cases in an airport,

the public forum inquiry focuses on the display cases rather than the airport as a whole);

Hubbard Broad., Inc. v. Metro. Sports Facilities Comm'n, 797 F.2d 552, 555-56 (8th Cir.

1986) (holding that where the speaker seeks access to advertising space in a sports arena, the

public forum inquiry focuses on the advertising space rather than the entire arena), cert. denied,

479 U.S. 986, 107 S. Ct. 576, 93 L. Ed. 2d 579 (1986); Lebron v. Nat'l R.R. Passenger Corp.,

69 F.3d 650, 655-56 (2d Cir. 1995) (holding that the one billboard at issue was the relevant

forum, not all of Penn Station in which the billboard was located); Freedom from Religion

Found., Inc. v. City of Warren, Mich., 873 F. Supp. 2d 850, 860 (E.D. Mich. 2012) (finding

that the City's holiday display housed within a government complex was the relevant forum,

not the entire government complex).

       Having determined that the relevant forum is the Empire State Plaza Summer Outdoor

Lunch Program, the Court must now determine the type of forum.


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               c. Forum determination

       The appropriate level of judicial scrutiny depends on the nature of the forum subject to

the regulation. "'Traditional public fora'" are places such as "streets and parks which 'have

immemorially been held in trust for the use of the public, and . . . have [generally] been used

for purposes of assembly, communicating thoughts between citizens, and discussing public

questions.'" Perry Educ. Ass'n v. Perry Local Educators' Ass'n, 460 U.S. 37, 45 (1983)

(quoting Hague v. CIO, 307 U.S. 496, 515, 59 S. Ct. 954, 83 L. Ed. 1423 (1939)). "Speech

finds its greatest protection in traditional public fora, and government may not alter their public

status without completely changing the fora's use, e.g. converting a public park to an office

building." Make the Road By Walking, Inc. v. Turner, 378 F.3d 133, 142 (2d Cir. 2004).

"Content-based restrictions on speech in traditional public fora are subject to strict scrutiny."

Hotel Emps. & Rest. Emps. Union Local 100 of N.Y. v. City of N.Y. Dep't of Parks &

Recreation, 311 F.3d 534, 545 (2d Cir. 2002) (citations omitted). "The government may,

however, impose content-neutral time, place and manner restrictions on speech in a traditional

public forum so long as those restrictions are 'narrowly tailored to serve a significant

government interest, and leave open ample alternative channels of communications.'" Id.

(quotation omitted); see also Make the Road By Walking, Inc., 378 F.3d at 142 (citations

omitted).

       The second category, the designated public forum, "'refers to government property

which, although not a traditional public forum, has been "intentionally opened up for that

purpose."'" Hershey v. Goldstein, 938 F. Supp. 2d 491, 507 (S.D.N.Y. 2013) (quotations and

other citation omitted); see also Perry Educ. Ass'n, 460 U.S. at 46. "'Because the government,


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as property owner, has opened up a designated public forum to the same breadth of expressive

speech as found in traditional public forums, the same standards apply: Any content-based

restrictions on speech must survive strict scrutiny, meaning they must be narrowly tailored to

serve a compelling government interest, and content-neutral time, place, and manner

restrictions are permissible only if they are narrowly tailored and leave open other avenues for

expression.'" Hershey, 938 F. Supp. 2d at 507 (quotation and other citations omitted); see also

Int'l Action Ctr. v. City of N.Y., 587 F.3d 521, 526-27 (2d Cir. 2009) (citation omitted).

Although the government may decide to close a designated public forum, "so long as a forum

remains public, government regulation of speech within it 'is subject to the same limitations as

that governing a traditional public forum.'" Make the Road by Walking, Inc., 378 F.3d at 143

(quotation omitted).

       The third category, the limited public forum, is often analyzed as a subset of the

designated public forum and as a nonpublic forum opened up for specific purposes. See Byrne

v. Rutledge, 623 F.3d 46, 55 n.8 (2d Cir. 2010) ("[T]he law of [the Second Circuit] describes a

limited public forum as both a subset of the designated public forum and a nonpublic forum

opened to certain kinds of speakers or to the discussion of certain subjects") (internal quotation

marks and citations omitted); see also N.Y. Magazine v. Metro. Transp. Auth., 136 F.3d 123,

128 & n.2 (2d Cir. 1998) (quoting Travis v. Owego-Apalachin Sch. Dist., 927 F.2d 688, 692

(2d Cir. 1991)). A limited public forum is created '"where the government opens a non-public

forum but limits the expressive activity to certain kinds of speakers or to the discussion of

certain subjects.'" Make the Road By Walking, Inc., 378 F.3d at 143 (quotations omitted).

"Common examples of limited public fora include 'state university meeting facilities opened for


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student groups, open school board meetings, city-leased theaters, and subway platforms opened

to charitable solicitations.'" Hershey, 938 F. Supp. 2d at 507 (quotations omitted).

       "In limited public fora, strict scrutiny is accorded only to restrictions on speech that

falls within the designated category for which the forum has been opened." Hotel Emps., 311

F.3d at 545 (citations omitted). "'Thus, in a limited public forum, government is free to impose

a blanket exclusion on certain types of speech, but once it allows expressive activities of a

certain genre, it may not selectively deny access for other activities of that genre.'" Id. at 545-

46 (quotation omitted). If the expressive activity does not fall within the limited category for

which the forum has been opened, however, restrictions on speech need only be reasonable and

viewpoint neutral. See id. at 546 (citations omitted).

       The final category, the nonpublic forum, consists of property that "the government has

not opened for expressive activity by members of the public." Id. (citation omitted). A

nonpublic forum "exists '[w]here the government is acting as a proprietor, managing its internal

operations.'" Walker, 135 S. Ct. at 2251 (quoting Int'l Soc'y for Krishna, 505 U.S. at 678, 112

S. Ct. 2701). Examples of nonpublic fora include airport terminals, government-owned

professional sports stadiums, military bases and restricted access military stores, and jailhouse

grounds. See id. (collecting cases). Restrictions on speech in such fora must only be

"reasonable and not an effort to suppress expression merely because public officials oppose the

speaker's view." Perry Educ. Ass'n, 460 U.S. at 46; see also Cornelius, 473 U.S. at 800; Hotel

Emps., 311 F.3d at 546 ("The government may restrict speech in non-public fora subject only

to the requirements of reasonableness and viewpoint neutrality").




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       The public forum doctrine raises particular challenges in a case such as this, where the

plaintiff seeks to classify a property or program as a "traditional public forum" that does not

easily meet the historic definition of such a forum. In view of such challenges, the Second

Circuit does not view the "tripartite approach as a straightjacket, but instead as a useful means

of analyzing the parties' competing interests, informed by such factors as the location, use, and

purpose of the property in question." Hotel Emps., 311 F.3d at 546 (citation omitted).

"Indeed, while it has been observed that traditional public fora are not expressly designed to

accommodate all forms of speech, . . . common to those types of properties deemed to be

traditional public fora is that 'the open access and viewpoint neutrality commanded by the

[public forum] doctrine is compatible with the intended purpose of the property.'" Id. (internal

citation and other quotation omitted).

       "In distinguishing between a public and non-public forum, we examine the forum's

physical characteristics and the context of the property's use, including its location and

purpose." Hotel Emps., 311 F.3d at 547 (citing United States v. Kokinda, 497 U.S. 720,

727-29, 110 S. Ct. 3115 (1990); United States v. Grace, 461 U.S. 171, 179-80, 103 S. Ct. 1702

(1983)). "'The primary factor in determining whether property owned or controlled by the

government is a public forum is how the locale is used.'" Id. (quoting Int'l Soc'y for Krishna

Consciousness, Inc. v. N.J. Sports & Exposition Auth., 691 F.2d 155, 160 (3d Cir. 1982)).

"Also relevant is the government's intent in constructing the space and its need for controlling

expressive activity on the property, as evidenced by its policies or regulations." Id. (citations

omitted); see also Paulsen v. County of Nassau, 925 F.2d 65, 69 (2d Cir. 1991) (holding that

the government's intent can be inferred from "policy and past practice, as well as the nature of


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the property and its compatibility with expressive activity"); N.J. Sports, 691 F.2d at 160-61

("Public forum status is not appropriate for a locale where the full exercise of First Amendment

rights would be inconsistent with the special interests of a government in overseeing the use of

its property") (internal quotation marks omitted). "Finally, we consider whether the property in

question 'is part of a class of property which by history or tradition has been open and used for

expressive activity.'" Hotel Emps., 311 F.3d at 547 (citing Warren v. Fairfax County, 196 F.3d

186, 190 (4th Cir. 1999); Greer v. Spock, 424 U.S. 828, 838, 96 S. Ct. 1211 (1976); Venetian

Casino Resort, L.L.C. v. Local Joint Exec. Bd., 257 F.3d 937, 943 (9th Cir. 2001), cert. denied,

535 U.S. 905, 122 S. Ct. 1204, 152 L. Ed. 2d 142 (2002)).

       In Texas v. Knights of Ku Klux Klan, 58 F.3d 1075 (5th Cir. 1995), the plaintiff sought

to participate in Texas' Adopt-a-Highway Program by adopting a stretch of highway that was

near a housing project. In recognition of its sponsorship, the name of the adopting group is

placed on a sign posted at the end of the adopted portion of highway. See id. at 1078-79. First,

the court identified the relevant forum as the Adopt-a-Highway Program itself, rather that the

public highways in general, and found that it was a nonpublic forum. See id. at 1078. The

court noted that the Program "does not have as its purpose the provision of a forum for

expressive activity." Id. Rather, the stated purpose of the Program was to allow citizens an

opportunity to support the State's efforts to control and reduce litter and, therefore, "[a]ny

opportunity for speech provided by the Program is peripheral to that central purpose." Id. The

nonpublic nature of the forum was further supported by the fact that the state restricted the size

and content of the signs posted on the highway and all applications to participate in the

Program were reviewed by the State Department of Transportation. See id. at 1079.


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       In the present matter, the Court finds that the Summer Outdoor Lunch Program is a

nonpublic forum and, therefore, restrictions on speech must only be reasonable and viewpoint

neutral. As discussed, OGS took control of the Summer Outdoor Lunch Program in 2013

when Sodexo's contract with OGS expired and was not renewed. See Dkt. No. 155-1 at ¶ 2;

see also Dkt. No. 158-1 at ¶ 2. Moreover, in the application itself, OGS identifies the fact that

it has "management supervision over the general domain of the food service operations at the

Empire State Plaza" and that its intention is to subcontract some of these responsibilities to

independent food vendors through this Summer Outdoor Lunch Program. See Dkt. No. 155-3

at 16. The operation of the Summer Outdoor Lunch Program, similar to the food services OGS

contracts to provide in the Concourse of the Empire State Plaza, is unquestionably an activity

in which OGS was "'acting as a proprietor, managing its internal operations.'" Walker, 135 S.

Ct. at 2251 (quoting Int'l Soc'y for Krishna, 505 U.S. at 678, 112 S. Ct. 2701).

       The fact that OGS was operating as a proprietor in creating the Summer Outdoor Lunch

Program is further supported by the fact that OGS promoted the program in several ways. For

example, OGS provided "blast email advertising" which involved OGS' "sponsorship

department" sending emails to a list of recipients who had previously asked to be informed

about upcoming events and programs at the Empire State Plaza. See Dkt. No. 152-4 at 27-31.

Moreover, the Summer Outdoor Lunch Program was advertised on the Empire State Plaza's

closed-circuit television system, which is located throughout the Concourse, as well as on

OGS' Facebook page. See id. at 31. Finally, OGS engaged in a "Vendor Outreach Program" in

an attempt to attract vendors for the program. See id. at 33-36.




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       Further, the Summer Outdoor Lunch Program was created for the sole purpose of

providing lunch options to the approximately 11,000 State employees who work at the Empire

State Plaza, as well as for visitors to the Capitol, State Museum, performing arts center, and the

various monuments and memorials at the Empire State Plaza. See Dkt. No. 155-3 at ¶ 9. Not

only did OGS not intend to create a forum for certain types of speech, the very narrow category

of speech contemplated by the Summer Outdoor Lunch Program is limited to the display of

permitted vendors' business names and menu items, after approval by OGS. Considering this

purpose, as well as the undisputed fact that Defendants did not intend to create a public forum

in beginning this undertaking, the undisputed facts clearly demonstrate that the Summer

Outdoor Lunch Program is a nonpublic forum. See Knights of Ku Klux Klan, 58 F.3d at 1079.

Rather, any opportunity for speech that the Program may have provided was peripheral to its

central purpose, i.e., providing outdoor lunch options to employees and visitors at the Empire

State Plaza. See id.

       Having found that the Summer Outdoor Lunch Program is a nonpublic forum, the Court

must now determine whether the restriction on speech was reasonable and content neutral.



               d. Reasonable, viewpoint neutral restrictions

       Plaintiff contends that, regardless of the type of forum at issue, Defendants' actions

were unconstitutional because they engaged in impermissible viewpoint discrimination. See

Dkt. No. 156-1 at 17-20. Plaintiff asserts that Defendants' argument that Wandering Dago was

excluded on the basis of a viewpoint-neutral prohibition of all speech that they have

characterized as ethnic slurs is wrong for two reasons: (1) "it is simply not true" because there


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was no policy in place concerning speech in the Summer Outdoor Lunch Program, nor was the

decision made on the basis of any such policy; and (2) "even if that were the policy, prohibiting

language deemed to be derogatory toward an ethnicity or nationality, while allowing speech

that references ethnicity in a neutral or positive way, is classic viewpoint discrimination." Id.

at 18. Specifically, Plaintiff contends that Defendants have not sought to prohibit all speech on

the topic of ethnicity or nationality; rather, they seek "to prohibit only speech that expresses a

particular viewpoint – speech that Defendants deem disparaging toward an ethnic or national

identity." Id. By way of example, Plaintiff argues that Defendants approved the application of

another food vendor with the name "Red Poppies: A Polish Pantry." Id. The Court finds

Plaintiff's arguments unpersuasive.

           First, the Court will address Plaintiff's argument regarding the absence of a policy and

impermissible, unbridled discretion.5 "The fact that a policy is not committed to writing does

not of itself constitute a First Amendment violation." Lebron v. Nat'l R.R. Passenger Corp., 69

F.3d 650, 658 (2d Cir. 1995) (citing City of Lakewood v. Plain Dealer Publishing Co., 486

U.S. 750, 770, 108 S. Ct. 2138, 2151, 100 L. Ed. 2d 771 (1988) ("[T]he limits the city claims

are implicit in its law must be made explicit by textual incorporation, binding judicial or

administrative construction, or well-established practice")). It is true that "'in the area of free

expression a licensing statute placing unbridled discretion in the hands of a government official


       5
         The Court notes that Plaintiff has provided the Court with a recent decision from the
Federal Circuit Court of Appeals, which it claims is relevant to the present matter. See In re Tam,
808 F.3d 1321 (Fed. Cir. 2015). The Court disagrees. In that case, the Federal Circuit invalidated
a portion of the Trademark Act which prohibited the registering of "disparaging" marks. In
making this finding, the court declined to perform the government forum approach and instead
subjected the regulation to strict scrutiny. See id. at 1334-37. The different standards applicable
to the present matter, and the fact that the regulation at issue in In re Tam was inconsistently
applied, make the decision largely irrelevant to this case.
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or agency constitutes a prior restraint and may result in censorship,' . . . and that 'the absence of

express standards makes it difficult to distinguish, "as applied," between a licensor's legitimate

denial of a permit and its illegitimate abuse of censorial power.'" Id. (internal quotations

omitted).

       While the absence of any guiding principles may raise the specter of unfettered

discretion, a policy does not have to be written to be real. See Lebron, 69 F.3d at 658. A

policy limiting the use of a forum may be expressed through "well-established practice." City

of Lakewood v. Plain Dealer Publishing Co., 486 U.S. 750, 770 (1988). Nor does the lack of

written guidelines require the inference that the forum in question is, by default, open to all

users and therefore public.

       The issue of standardless discretion applies only to First Amendment claims involving

expressive activity. See Lakewood v. Plain Dealer Pub. Co., 486 U.S. 750, 755-56 (1988)

("[W]hen a licensing statute allegedly vests unbridled discretion in a government official over

whether to permit or deny expressive activity . . .") (emphasis added); see also Miller v. City of

Cincinnati, 622 F.3d 524, 532 (6th Cir. 2010). In the present matter, as discussed above, this

nonpublic forum was not opened to facilitate First Amendment activity. Rather, any speech

that may occur was peripheral to the primary purpose of providing outside lunch options to the

11,000 state employees and visitors at the Empire State Plaza. Moreover, as discussed in more

detail below, neither Ms. Loguidice nor Mr. Snooks could identify any message or point-of-

view they were attempting to convey through the name Wandering Dago. Since Plaintiff's

claim is that it was denied access to the Summer Outdoor Lunch Program, and not that it was




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prohibited from conveying a message of any kind, the standardless discretion limitation is not

applicable to the present matter. See McKay, 2014 WL 7013574, at *16.

       Even if the Court found that the standardless discretion limitation were applicable to the

present matter, Plaintiff's argument still fails. In Lebron, Amtrak had an unwritten policy

prohibiting the display of political advertisements on a large billboard in Penn Station known

as the Spectacular. See Lebron, 69 F.3d at 653-55. Upholding the unwritten policy, the

Second Circuit first found that the Spectacular was the relevant forum, not Penn Station as a

whole, and held that it was a nonpublic forum, or a limited public forum opened for purely

commercial speech. See id. at 656. Thereafter, the court noted that "[i]t is especially

significant that, as in Lehman, Amtrak acts in this case in a proprietary capacity, rather than as

a governmental regulator." Id. at 657. Rejecting the plaintiff's arguments that the policy is

unwritten, inconsistently applied, and possibly viewpoint biased, the Second Circuit noted as

follows:

               Amtrak's prior written agreements, together with the testimony of
               the Amtrak official responsible for approving advertisements on
               the Spectacular and Amtrak's historic practice of reserving the
               Spectacular for commercial advertisements, dispel the notion that
               Amtrak enjoyed "unbridled discretion" or could have perpetrated
               an "illegitimate abuse of censorial power" in rejecting an
               advertisement because of its political content. Furthermore,
               because the policy against political advertisements was limited in
               scope to the Spectacular, there is no evidence that Amtrak's
               policy has ever been applied inconsistently.

Id. at 658. Further, the court rejected the plaintiff's arguments that the policy was viewpoint

biased because of language contained in contracts regarding the billboard, which gave Amtrak

the discretion to refuse any advertising that "'involve[s] political or other views which could

result in dissension or involve [Amtrak] in dissension, complaints or controversy with its

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patrons or the public.'" Id. The court noted that, if the policy were used to screen out only

controversial political advertisements, it would be void for viewpoint bias. See id. However,

the court held that "it seems more sensible to read the language as a justification, however

inartfully phrased, for a categorical ban against political advertising . . . rather than as a test for

discriminating against certain types of political advertisements." Id. at 658-59 (internal citation

omitted).

        Contrary to Plaintiff's contentions, its application was not rejected pursuant to an

unwritten policy or through a policy in which the reviewer was granted unbridled discretion.

Pursuant to the "Rules for the Empire State Plaza Vendor Participation," which was attached to

the application form, OGS set forth the following: "All vendors are expected to conduct

themselves with courtesy and in an orderly manner. Arguments, harassment, sexual

harassment, name-calling, profane language, or fighting are grounds for revocation of the

vendor permit." Dkt. No. 155-1 at ¶ 7. Profane language is defined as, among other things,

language that is "vulgar, coarse, or blasphemous." See http://www.thefreedictionary.com/

profane (last visited Feb. 24, 2016). Ethnic slurs unquestionably fit within the definition of

profanity. Although Defendants could not limit the use of profane language within a traditional

public forum, absent some other compelling justification, Defendants can refuse to permit such

language in a nonpublic forum.

        Further, when considering whether an official is granted too much discretion, it is

necessary to consider the type of forum at issue and the purpose behind the forum's creation.

The Circuits that have applied the unbridled discretion doctrine outside of traditional public




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forums have noted that public officials have more discretion limiting speech in nonpublic

forums:

               This does not mean that the unbridled discretion analysis is
               precisely the same when a limited public or nonpublic forum,
               rather than a traditional public forum, is involved. The unbridled
               discretion inquiry is "not a static inquiry, impervious to context";
               rather a court will review a grant of discretion "in light of the
               characteristic nature and function of that forum." Ridley v. Mass.
               Bay. Transp. Auth., 390 F.3d 65, 94-95 (1st Cir. 2004). "That
               discretionary access is the defining characteristic of the nonpublic
               forum suggests that more official discretion is permissible in a
               nonpublic forum than would be acceptable in a public forum. . . ."

McKay v. Federspiel, No. 14-cv-10252, 2014 WL 7013574, *17 (E.D. Mich. Dec. 11, 2014)

(quoting Child Evangelism Fellowship of MD, Inc. v. Montgomery County Public Schools, 457

F.3d 376, 386 (4th Cir. 2006)).

       By its terms, the unbridled discretion doctrine has been articulated as a limit on

licensing regimes in public fora. See, e.g., Shuttlesworth v. City of Birmingham, Ala., 394 U.S.

147, 153 (1969) ("[W]e have consistently condemned licensing systems which vest in an

administrative official discretion to grant or withhold a permit upon broad criteria unrelated to

proper regulation of public places") (quoting Kunz v. New York, 340 U.S. 290, 293-94, 71 S.

Ct. 312, 95 L. Ed. 280 (1951)). In a nonpublic forum, the government is said to operate as

proprietor, not licensor. See United States v. Kokinda, 497 U.S. 720, 725 (1990). As other

courts have noted, selectivity and discretion are some of the defining characteristics of the

nonpublic forum and, therefore, greater latitude should be accorded to government officials.

See Griffin v. Sec'y of Veterans Affairs, 288 F.3d 1309, 1323 (Fed. Cir. 2002). "While one

might protest that such logic undercuts the fundamental premise of the unbridled discretion

doctrine, see Ark. Educ. Television Comm'n v. Forbes, 523 U.S. 666, 693 n.18, 118 S. Ct.

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1633, 140 L. Ed. 2d 875 (1998) (Stevens, J., dissenting), the fact that discretionary access is a

defining characteristic of the nonpublic forum should suggest that more official discretion is

permissible in a nonpublic forum than would be acceptable in a public forum." Griffin, 288

F.3d at 1324.

       Since Plaintiff sought access to a nonpublic forum, Defendants were entitled to greater

discretion in deciding what speech was appropriate. This conclusion is further supported by

the fact that the State was acting in a proprietary capacity in refusing to permit Plaintiff to

participate in the Summer Outdoor Lunch Program. As discussed, the Summer Outdoor Lunch

Program was created to provide outdoor food options to the thousands of employees and

visitors at the Empire State Plaza. The program was sponsored by and promoted by OGS. The

decision to create a family-friendly environment and to disassociate the State from profane

language in this nonpublic forum was entirely permissible. Finally, OGS has consistently

applied this policy to other events that it has sponsored on the Empire State Plaza. For

example, in 2010 during "African American Family Day," Defendant Rabito directed an OGS

employee to not hire one of the proposed dance troops because its dress and type of dance were

deemed not family friendly. See Dkt. No. 155-3 at ¶¶ 14-15. Further, during African

American Family Day, OGS offered an open venue to young people in the community to

perform for up to three minutes. See id. at ¶ 16. According to Defendant Rabito, after they

were advised of the "family friendly rules . . . one performer used the N-word and was

removed from the stage." Id. Moreover, Defendant Rabito contends that, "during the course of

an OGS-sponsored event on the Plaza, OGS has directed vendors that are permitted to sell

products at the Plaza as part of OGS-sponsored events or programs to remove items from their


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stalls that violated OGS's family-friendly [policy], including replica 'black face' figurines,

panties with 'Kiss Me I'm Irish' printed on them, fertility pendants with a phallus that becomes

erect when a chain is pulled, and marijuana leaf belt buckles." Id. at ¶ 18. Further, Defendants

Bruso and Walters also acknowledged OGS' family-friendly policy and its consistent

application to sponsored events. See, e.g., Dkt. No. 155-4 at ¶ 35; Dkt. No. 155-5 at ¶ 28.

           In Perry v. McDonald, 280 F.3d 159 (2d Cir. 2001), the Second Circuit held that the

Vermont Department of Motor Vehicles had not violated the plaintiff's First Amendment right

to freedom of speech by revoking as erroneously issued her "vanity" license plate bearing the

letters: "SHTHPNS."6 Under the applicable statute, a vehicle owner was permitted to obtain a

vanity plate by paying a fee, so long as the contents of the plate were not "offensive or

confusing to the general public." Perry, 280 F.3d at 163. The Department of Motor Vehicles

sought to revoke the plaintiff's plate because it was "offensive." Id. at 164. Discovery revealed

that the Department generally did not approve any vanity plates with "offensive scatological

terms," and that the plaintiff's plate had been approved in error. See id. at 169-71.

           The court concluded that the Department's restriction on the plaintiff's speech was

viewpoint-neutral, and therefore constitutional. The court explained that

                  [i]t is apparent that Vermont's policy does not oppose Perry's
                  philosophical views as reflected in the vanity plate. Vermont's
                  policy prohibits Perry's vanity plate not because it stands for "Shit
                  happens (so don't let life's problems drive you to drink)," but
                  because Perry chose to express that viewpoint using a
                  combination of letters that stands in part for the word "shit." This
                  restriction does not discriminate on the basis of viewpoint.



       6
        The Court is referencing the Perry decision only for its discussion as to what constitutes
viewpoint discrimination. Although that discussion may be properly considered dicta in light of
the Supreme Court's decision in Walker, the discussion is nevertheless relevant.
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Id. at 170. Further, the court noted that the policy does not prevent the plaintiff from

communicating any particular message on her automobile, just on the license plate itself. See

id. As such, the court held that "Vermont's scatological terms policy is thus reasonably

'directed not to suppressing, but to disassociating the [state] from, plaintiff's speech.'" Id. at

170-71 (quoting General Media Commc'ns, Inc. v. Cohen, 131 F.3d 273, 281 n.10 (2d Cir.

1997)).

          In the present matter, the Court finds that Defendants did not engage in impermissible

viewpoint discrimination. Plaintiff contends that the viewpoint discrimination is evidenced by

the fact, "while denying Wandering Dago on the basis of its name, Defendants approved the

application of another food vendor with the name 'Red Poppies: A Polish Pantry.' . . . Vendors

are free to express their ethnic or national identity or the ethnic or national origins of the foods

they serve, unless they wish to do so in a manner Defendants deem disparaging. The

government cannot evade the constitution's requirement of viewpoint-neutrality by simply

characterizing a disapproved perspective as an off-limits topic." Dkt. No. 156-1 at 18-19.

          The Court finds Plaintiff's argument and example unpersuasive. First, the owners of

Wandering Dago have not identified any particular view they sought to convey through their

name. In fact, at their depositions, both owners of Wandering Dago testified that the name is

not intended to express an opinion or communicate a point of view. Specifically, Ms.

Loguidice testified that the use of the term "dago" in the business name was "to convey our

business, that we are Italian-Americans and we wander around in a food truck and we get paid

as the day goes, and that we make our products on that truck and that's our business." Dkt. No.

152-14 at 114. Ms. Loguidice further testified that she was not intending to convey any


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message about Italian-Americans beyond herself and Mr. Snooks. See id. When Mr. Snooks

was asked if the name of the company was meant to convey a message to the public, he

responded as follows: "No. Well, I mean yes. I mean obviously we have a brand, the pig on

the bike, we wanted everyone to remember the logo. But not specifically with Wandering

Dago. That was just a name that we felt fit what we do and who we are." Dkt. No. 152-15 at

98-99. Further, Mr. Snooks responded in the negative when asked if he was "attempting to

make any type of political statement with the name Wandering Dago?" Id. at 100. It is

difficult to see how the government can engage in viewpoint discrimination when the speaker

is not intending to actually convey a point-of-view.

       Second, allowing participants in the Summer Outdoor Lunch Program to identify the

ethnic origin of the food they are selling using non-offensive adjectives that communicate their

ethnicity or national origin while not allowing racially offensive and pejorative names is

entirely reasonable, and viewpoint neutral. It strains credulity to equate the use of the word

"dago," an offensive epithet used to describe people from Italy, with the word "Polish," a non-

offensive adjective used to describe people from Poland. Quite simply, Plaintiff's argument is

without merit. Defendants did not engage in impermissible viewpoint discrimination as

Plaintiff suggests. Rather, Defendants simply prohibited Plaintiff from participating in the

Program because of the offensive nature of its name, Wandering Dago, and the other offensive

racial epithets contained in its menu. As Defendants noted, several menu items included ethnic

slurs, specifically the items named "Dago," "Polack," "Mick and Cheese," "American Idiot,"

"Goombah," "Guido," "El Guapo," and "KaSchloppas." Dkt. No. 155-5 at 15-16; Dkt. No.




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155-4 at ¶ 10; Dkt. No. 152-14 at 58-59.7 As the Supreme Court has explained, a blanket ban

on the use of "odious racial epithets" by "proponents of all views" constitutes mere content-

based regulation, while a ban on the use of racial slurs by one group of speakers but not "those

speakers' opponents" constitutes viewpoint discrimination. See R.A.V., 505 U.S. at 391; see

also Barr v. Lafon, 538 F.3d 554, 572 (6th Cir. 2008). Accordingly, prohibiting racial epithets,

regardless of the message the party is seeking to convey, while permitting unoffensive terms to

identify the origin of the food being sold, is not viewpoint discrimination, as Plaintiff suggests.

See id.

           As discussed, Plaintiff contends that the food truck "Slidin' Dirty" was permitted to

participate in the Summer Outdoor Lunch Program despite having a name that was in violation

of the alleged family-friendly policy. The name "Slidin' Dirty," however, is not obviously

offensive or easily recognizable as such. In fact, unless Defendants were intimately familiar

with the musings of the artist Chamillionaire, they would have no reason to know that the

seemingly benign name may or may not have illicit connotations, which are tenuous at best.

           In Perry, the Second Circuit rejected a somewhat similar argument. In that case, the

plaintiff argued that the state inconsistently applied its scatological terms policy by issuing

license plates with scatological terms it considered "cute." Perry, 280 F.3d at 170.

Specifically, the plaintiff argued that the issuance of a license plate with the term "POOPER,"

while not permitting "SHTHPNS" constituted viewpoint discrimination. See id. Rejecting the



       7
         When asked at her deposition to explain the meaning of the term "KaSchloppas" as used
by Wandering Dago as a name for a wrap sandwich, Ms. Loguidice responded "I assume it's
someplace near Greece." Dkt. No. 152-14 at 58-59. According to Defendants, a "computer
search found no such location, but revealed that the term is likely a reference to a slang term for
vagina made popular by comedian Chelsea Handler." Dkt. No. 155-9 at 20 n.6.
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argument, the Second Circuit held that the difference between the examples the plaintiff cited is

"not that the latter are 'cute,' but that they do not use easily recognizable profanities. The

relevant difference between 'shit' and 'pooper,' for instance, is not the so-called 'cuteness' of the

word 'pooper,' but the fact that 'shit' is a profanity. That is why the DMV considers the latter

offensive." Id. at 170-71.

       Finally, the Court finds that the limits on speech were reasonable. Given the nature of

the Summer Outdoor Lunch Program and the fact that it is sponsored and promoted by OGS, it

is reasonable for the State to want to avoid the perception that it condones the use of racial

epithets. See Weingarten v. Bd. of Educ. of City Sch. Dist. of City of N.Y., 680 F. Supp. 2d

595, 601-02 (S.D.N.Y. 2010).

       In sum, the Court finds that the undisputed facts establish that Defendants have not

engaged in impermissible viewpoint discrimination and that the limits on speech were

reasonable in light of the nature of the nonpublic forum. This result is further supported by the

fact that Defendants were acting in a proprietary capacity, rather than as a governmental

regulator. See Lebron, 69 F.3d at 656. Based on the foregoing, the Court grants Defendants'

motion for summary judgment and denies Plaintiff's cross motion for summary judgment as to

Plaintiff's First Amendment claim.



       3. Employment-context cases

       In Pickering v. Board of Education, 391 U.S. 563, 565 (1968), the Supreme Court

recognized that "the First Amendment protects a public employee's right, in certain

circumstances, to speak as a citizen addressing matters of public concern." Garcetti v.


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Ceballos, 547 U.S. 410, 417 (2006) (citing Pickering, 391 U.S. at 568, 88 S. Ct. 1731).

Pickering and its progeny "identify two inquiries to guide interpretation of the constitutional

protections accorded to public employee speech":

                 The first requires determining whether the employee spoke as a
                 citizen on a matter of public concern. If the answer is no, the
                 employee has no First Amendment cause of action based on his
                 or her employer's reaction to the speech. If the answer is yes,
                 then the possibility of a First Amendment claim arises. The
                 question becomes whether the relevant government entity had an
                 adequate justification for treating the employee differently from
                 any other member of the general public.

Garcetti, 547 U.S. at 417 (internal citations omitted); see also Pickering, 391 U.S. at 568

(concluding that the scope of a public employee's First Amendment rights depends on the

"balance between the interests of the [employee], as a citizen, in commenting upon matters of

public concern and the interest of the State, as an employer, in promoting the efficiency of the

public services it performs through its employees"); Connick v. Myers, 461 U.S. 138, 147-48

(1983).

          In determining whether a plaintiff's speech was constitutionally protected, the court

must determine "whether [he] spoke as a citizen on a matter of public concern." Garcetti, 547

U.S. at 418 (citation omitted). This requires two separate determinations: "(1) that the

employee speak as a citizen, and (2) that the employee speak on a matter of public concern."

Kelly v. Huntington Union Free Sch. Dist., 675 F. Supp. 2d 283, 291 (E.D.N.Y. 2009) (citing

Sousa, 578 F.3d at 170). "If either of these requirements is not met, then plaintiff's First

Amendment retaliation claim must fail as a matter of law." Id.

          Although Wandering Dago was not and is not a public employee, the Supreme Court

has held that independent contractors hired by the State are protected by the First Amendment

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and that the "Pickering balancing test, adjusted to weigh the government's interests as

contractor rather than as employer, determines the extent of their protections." Bd. of County

Comm'rs v. Umbehr, 518 U.S. 668, 673 (1996). "Therefore, an official may take an adverse

action against an independent contractor for speech on matters of public concern if: (1) the

official's prediction of the disruption that such speech will cause is reasonable; (2) the potential

for disruption outweighs the value of the speech; and (3) the official took the adverse action not

in retaliation for the speech, but because of the potential for disruption." Richardson v.

Pratcher, 48 F. Supp. 3d 651, 664 (S.D.N.Y. 2014) (citing Johnson v. Ganim, 342 F.3d 105,

114 (2d Cir. 2003)) (other citation omitted).8

           Generally, in the cases the Court has reviewed dealing with independent contractors

working for the government, the contractor performed a service for which it was paid directly

by the state. For example, the plaintiff in Fahs Construction Group, Inc. v. Gray, 725 F.3d

289 (2d Cir. 2013) was a general contractor that provided roadway construction and paving

services to the New York State Department of Transportation. While a relationship of that

nature is more common, the undisputed facts clearly demonstrate that, in submitting its

application to participate in the Summer Outdoor Lunch Program, Wandering Dago was


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          Although the Supreme Court or Second Circuit have not determined whether First
Amendment protections should be extended to applicants or bidders for government contracts as
opposed to those who already have a pre-existing relationship, the Court will assume for purposes
of this motion that the First Amendment extends to Wandering Dago. See African Trade &
Information Center, Inc. v. Abromatis, 294 F.3d 355, 360-61 (2d Cir. 2002); see also A.F.C.
Enterprises, Inc. v. New York City School Construction Authority, No. 98 CV 4534, 2001 WL
1335010, *17 (E.D.N.Y. Sept. 6, 2001) (concluding "that an independent contractor potentially
may state a viable First Amendment Claim for retaliation where the contractor is denied a bid in
retaliation for the exercise of his right to free speech"); Ruscoe v. Housing Auth. of City of New
Britain, 259 F. Supp. 2d 160, 170-72 (D. Conn. 2003) (applying the Pickering-Connick test in the
context of an applicant for a government employment position who claimed that he did not
receive the position in retaliation for the exercise of his First Amendment rights).
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applying to be an independent contractor performing a service for the State. As discussed,

although an outdoor lunch program had been operated in prior years by Sodexo, a private

company which had a contract to provide food services for the Empire State Plaza, Sodexo's

contract had not been renewed for 2013, and OGS decided to run its own summer outdoor

lunch program. See Dkt. No. 155-1 at ¶ 2; see also Dkt. No. 158-1 at ¶ 2. The "Plaza Vendor

Permit Agreement for Empire State Plaza Vendors," which was part of the application for the

Summer Outdoor Lunch Program, specifically indicated that OGS would be "subcontracting"

some or all of its food service operations responsibilities to interested food vendors. See Dkt.

No. 155-3 at 16. The application also indicated that OGS would maintain supervisor control

over the Program and that applications were subject to its review and approval.

       In light of the relationship between accepted applicants and the State, the Court finds

that such vendors are properly considered independent contractors, subject to Pickering and its

progeny. As such, the Court must determine whether the speech addressed a matter of public

concern. "Whether an employee's speech addresses a matter of public concern must be

determined by the content, form, and context of a given statement, as revealed by the whole

record." Connick, 461 U.S. at 147-48.

       The undisputed facts in the present matter establish that Plaintiff's speech did not

address a matter of public concern. As the Court discussed in its January 15, 2014

Memorandum-Decision and Order, "the word 'dago' is highly offensive to many. For certain,

the term 'dago' is not a playful or accepted word for most Italians." Wandering Dago, Inc., 992

F. Supp. 2d at 108. Rather, the word constitutes a racial slur. Further, as discussed, both

owners of Wandering Dago testified at their depositions that the name is not intended to


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express an opinion or communicate a point of view. Rather, Ms. Loguidice and Mr. Snooks

both testified that the only message that they were trying to convey through the name

"Wandering Dago" is that they are Italian-Americans, selling food out of their truck. See Dkt.

No. 152-14 at 114; Dkt. No. 152-15 at 98-100. Since Plaintiff's speech was not made in order

to bring focus on an issue of importance, but was rather simply an attempt to convey they are

two Italian-Americans selling food out of a truck, the speech activity in question does not touch

on a matter of public concern. See Bevill v. UAB Walker Coll., 62 F. Supp. 2d 1259, 1289

(N.D. Ala. 1999). Simply stated, using racially offensive terms, without an underlying agenda

to bring focus to an issue, such as racial inequality, is not speech on a matter of public concern

and, therefore, not protected under the First Amendment. See Balsamo v. Univ. Sys. of N.H.,

No. 10-CV-500, 2011 WL 4566111, *8 (D.N.H. Sept. 30, 2011) (holding that "sexually

explicit remarks and derogatory slurs . . . are simply not matters of public concern"); Willson v.

Yerke, No. 3:10CV1376, 2011 WL 332487, *4 (M.D. Pa. Jan. 31, 2011) (holding that insulting

personal slurs were not matters of public concern).

       Even assuming that Plaintiff's use of the word "dago" was speech on a matter of public

concern (which it is not), Defendants are still entitled to summary judgment on this claim. The

undisputed evidence establishes that from the outset, Defendants discussed the offensive nature

of the word "dago" and the potential disruption it could cause. Further, the speech at issue has

limited value in the context of the present matter for the reasons discussed above, including the

fact that the only message Ms. Loguidice and Mr. Snooks were attempting to convey is that

they are Italian Americans selling food out of a truck. Since Plaintiff's name was admittedly




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not an attempt to send a political message of any kind or start a discourse on the struggles of

Italian immigrants, the speech has little value.

       In his deposition, Defendant Rabito testified that, in light of the derogatory nature of

Plaintiff's name, he had safety concerns if Plaintiff was permitted to participate in the Program.

See Dkt. No. 156-19 at 13. Specifically, Defendant Rabito testified as follows:

       Q.      When you made your decision, did you have any specific regulation in
               mind that you thought that the Wandering Dago application violated?

       A.      I was pretty confident I was making a decision that we were talking
               about something that was discriminatory. And moreover, what I was
               concerned about was providing the workplace a safe and comfortable –
               not comfortable, a safe workplace.

       Q.      What safety concern did you have?

       A.      Well, I used my own example. That if, you know – if someone would
               refer to me as a Dago, I would punch them in the mouth. And I was
               concerned that people would take offense to it and people would be hurt
               by it and people would think similar to the way I thought.

       Q.      And you viewed it as discriminatory because you thought the word was
               derogatory?

       A.      I was very comfortable that the word was derogatory, yes.

Id. Defendant Rabito's uncontested testimony makes clear that Wandering Dago's application

for the Summer Outdoor Lunch Program was denied because of the legitimate belief in the

potential for disruption. As such, even if Plaintiff's speech was protected, the First Amendment

claim is still subject to dismissal because the adverse action was taken because of the potential

for disruption and the speech at issue had very little value. See Richardson, 48 F. Supp. 3d at

664.




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       Based on the foregoing, the Court grants Defendants' motion for summary judgment as

to Plaintiff's First Amendment cause of action on this alternative ground.



       4. Government Speech

       After the Court issued its decision on Defendants' motions to dismiss, but before the

parties filed the pending motions for summary judgment, the Supreme Court decided Walker v.

Texas Div., Sons of Confederate Veterans, Inc., 135 S. Ct. 2239 (2015). Although the parties

have not addressed the implications of Walker on the present matter, the Court finds that a

discussion of that case and the government speech doctrine discussed therein is appropriate for

the resolution of the present matter.

       The Free Speech Clause of the First Amendment "restricts government regulation of

private speech; it does not regulate government speech." Pleasant Grove City, Utah v.

Summum, 555 U.S. 460, 467 (2009). When the government exercises "the right to 'speak for

itself,'" it can freely "select the views that it wants to express." Id. at 467-68 (quotations

omitted). This freedom includes "choosing not to speak" and "speaking through the . . .

removal" of speech of which it disapproves. Downs v. L.A. Unified Sch. Dist., 228 F.3d 1003,

1012 (9th Cir. 2000) (citing Ark. Educ. Television Comm'n v. Forbes, 523 U.S. 666, 674, 118

S. Ct. 1633, 1639, 140 L. Ed. 2d 875 (1998)). Government speech is regulated primarily by

"the political process," not the Constitution. See Bd. of Regents of Univ. of Wis. Sys. v.

Southworth, 529 U.S. 217, 235 (2000). Characterizing speech as government speech should

not be done lightly because the characterization "strips it of all First Amendment protection"

under the Free Speech Clause. Walker, 135 S. Ct. at 2255 (Alito, J., dissenting).


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       In Walker, the Supreme Court determined that specialty license plates issued by the

State of Texas were government speech, and that the State's denial of a Confederate Flag plate

was therefore not subject to First Amendment scrutiny. See Walker, 135 S. Ct. at 2244-45.

Applying the government speech test set forth in Summum, the Walker Court concluded that

because (1) the States have historically used license plates to communicate with the public, (2)

license plates are often closely identified in the public mind with the State, and (3) Texas

effectively controlled the expressive content of the license plates by exercising final approval

authority over submitted designs, Texas' specialty plates "are similar enough to the monuments

in Summum to call for the same result." Walker, 135 S. Ct. at 2249. Walker acknowledged

that its holding applied only in limited circumstances, however, noting the close connection

between license plates and State directives. See id. at 2251.

       The three factors that the Supreme Court applied in Walker came from Summum, a

decision in which the Court concluded that privately donated monuments in public parks were

government speech. See Summum, 555 U.S. at 470-72. There, the Court explained that

"[g]overnments have long used monuments to speak to the public." Id. at 470. Moreover, "[i]t

certainly is not common for property owners to open up their property for the installation of

permanent monuments that convey a message with which they do not wish to be associated."

Id. at 471. "[T]here is little chance that observers will fail to appreciate the identity of the

speaker" when they view a monument in a public park, id., especially because "[p]ublic parks

are often closely identified in the public mind with the government unit that owns the land," id.

at 472. Finally, the city "'effectively controlled' the messages sent by the monuments in the

[p]ark by exercising 'final approval authority' over their selection." Id. at 473 (quoting Johanns


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v. Livestock Mktg. Ass'n, 544 U.S. 550, 560-61, 125 S. Ct. 2055, 2062-63, 161 L. Ed. 2d 896

(2005)). "The monuments that are accepted, therefore, are meant to convey and have the effect

of conveying a government message, and they thus constitute government speech." Id. at 472.

       As to the first Walker factor, the government has a history of sponsoring programs of all

varieties. Implicit in that sponsorship is the fact that the government endorses the message or

messages conveyed.

       As to the second Walker factor, there is little chance that the observer will fail to see the

identity of the speaker. According to Heather Flynn, as part of the Summer Lunch Program,

OGS informed the public about the Program in several different ways. See Dkt. No. 152-4 at

27-31. For example, OGS provided "blast email advertising" which involved OGS'

"sponsorship department" sending emails to a list of recipients who provided their email

addresses so that they could be informed of upcoming events and programs at the Empire State

Plaza. See id. Moreover, the Summer Outdoor Lunch Program was advertised on the Empire

State Plaza's closed-circuit television system, which is located throughout the Concourse. See

id. at 30. Further, OGS promoted the program on its Facebook page and other social media

websites. See id. at 31. Through the promotion of the Summer Outdoor Lunch Program, OGS

provided the names of the participating vendors to its audience. In sponsoring the Summer

Outdoor Lunch Program, the State has engaged in a form of speech (albeit of a somewhat

commercial nature). If the Court was to invoke the First Amendment to protect Wandering

Dago's ability to participate in this State sponsored program, Wandering Dago would be able to

do to the government what the government could not do to Wandering Dago: compel it to

embrace speech with which it does not agree.


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       As to the third Walker factor, the undisputed evidence clearly demonstrates that OGS

maintains tight control over any messages that are sent during events it sponsors at the Empire

State Plaza. OGS has long history of only sponsoring programs that are "family friendly," and

suitable to persons of all ages. Although all sorts of political events take place on the Empire

State Plaza, OGS does not sponsor those events and does not censor in any way their content.

The events OGS does sponsor, however, are more closely scrutinized because, unlike political

rallies held on the Plaza, the sponsored events are more clearly linked to the State. As such, as

Defendant Rabito testified, such sponsored events are reviewed to ensure that there is a family-

friendly environment. As discussed above, during OGS sponsored events, OGS employees

have refused to hire performers because of the nature of their acts or attire, removed a

performer from the stage when he used the "N-word," and required vendors to remove

offensive and racially insensitive merchandise. See Dkt. No. 155-3 at ¶¶ 14-18.

       Like the monuments at issue in Summum and the license plates at issue in Walker, the

programs sponsored and promoted by OGS have long conveyed messages to the people of the

State and reasonable observers would conclude that New York agrees with the messages these

programs send. Further, as discussed above, OGS exercises direct control over the messages

conveyed at these programs and prohibits those messages that do not fall within its family-

friendly policy. These State sponsored programs take place in the Empire State Plaza,

surrounded by the buildings that house the seat of New York government.

       Who the government decides to do business with will often reflect the values of those in

positions of authority. Such values are also reflected by the messages these individuals convey

to the public through their positions. When the government exercises "the right to 'speak for


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itself,'" it can freely "select the views that it wants to express." Summum, 555 U.S. at 467-68

(quotation omitted). This freedom also includes the choice to not speak. "The fact that private

parties take part in the design and propagation of a message does not extinguish [its]

governmental nature." Walker, 135 S. Ct. at 2251. The monuments in Summum and the

license plates in Walker were government speech, even though private entities designed them.

See id.; Summum, 555 U.S. at 470-71. OGS determines which events it wants to sponsor and

then controls the messages that those events are permitted to convey. The speech at issue

exhibits strong indicia of government endorsement and control. Accordingly, the Court finds

that all three factors identified in Walker are satisfied. As such, Plaintiff's redress lies with the

political process, not the courts. See Mech v. School Bd. of Palm Beach County, Fla., 806 F.3d

1070, 1078-79 (11th Cir. 2015) (holding that banners hung on fences at a school to recognize

private sponsors of school programs were government speech); Sutliffe v. Epping School Dist.,

584 F.3d 314 (1st Cir. 2009) (holding that the defendants had engaged in government speech

when they advocated for approval of budgets and spending on school and Town endeavors

through school and Town newsletters, mailings, and other forms of communication including

the Town website, and, therefore, were not required to provide the plaintiffs access to these

same communication channels to express their opposing views); People for the Ethical

Treatment of Animals, Inc. v. Gittens, 414 F.3d 23 (D.C. Cir. 2005) (holding that the

government's decision to not display the plaintiff's artistic submission after the plaintiff had

paid the $5,000 for permission to participate in the program was not protected by the First

Amendment and that, at best, the government's "failure to abide by any of these commitments

might give rise to a contract claim").


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        Based on the foregoing, Defendants' motion for summary judgment is granted on this

alternative ground.



D.      Equal Protection claim

        Defendants contend that Plaintiff cannot establish its Equal Protection claim as a matter

of law. See Dkt. No. 155-9 at 21. First, Defendants argue that Plaintiff cannot establish that it

was treated differently than any other similarly situated entity because no other applicant to the

2013 or 2014 Summer Outdoor Lunch Program had a name which contained a derogatory

ethnic term, or another offensive term in violation of OGS' family-friendly policy. See id. at

21-22. Second, Defendants contend that, even if Plaintiff could establish that it was treated

differently than other similarly situated entities, Plaintiff cannot prove that such differential

treatment was based on impermissible considerations such as race, religion, intent to inhibit or

punish the exercise of constitutional rights, or malicious or bad faith intent to injure. In

response, Plaintiff contends that Wandering Dago was similarly situated "to the class of vendor

applicants for the Summer Lunch Program" and that it "was singled out for differential

treatment – application denial – explicitly on account of its name, which is commercial speech

protected by the constitution." Dkt. No. 158 at 26 (citing Cuffley v. Mickes, 208 F.3d 702 (8th

Cir. 2000)).

        The Equal Protection Clause requires the government to treat all similarly situated

people alike. See Harlen Assocs. v. Incorporated Vill. of Mineola, 273 F.3d 494, 499 (2d Cir.

2001) (citing City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439, 105 S. Ct. 3249, 87

L. Ed. 2d 313 (1985)). A plaintiff may proceed under the Equal Protection Clause as either a


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"class of one," Vill. of Willowbrook v. Olech, 528 U.S. 562, 564 (2000) (per curiam) (citations

omitted), or under the theory of "selective enforcement," Diesel v. Town of Lewisboro, 232

F.3d 92, 103 (2d Cir. 2000) (citation omitted). In the present matter, Plaintiff has alleged a

selective enforcement claim against Defendants.

          The Second Circuit has "described selective enforcement as a 'murky corner of equal

protection law in which there are surprisingly few cases.'" Diesel, 232 F.3d at 103 (quoting

LeClair v. Saunders, 627 F.2d 606, 608 (2d Cir. 1980)). Nevertheless, it is well settled that a

plaintiff must meet a two-pronged test in order to successfully demonstrate selective

enforcement under the Fourteenth Amendment. See Cine SK8, Inc. v. Town of Henrietta, 507

F.3d 778, 790 (2d Cir. 2007) (quotation omitted). "[T]o succeed on a 'selective enforcement

claim,' a plaintiff must show: '(1) that they were treated differently from other similarly situated

individuals, and (2) that such differential treatment was based on impermissible considerations

such as race, religion, intent to inhibit or punish the exercise of constitutional rights, or

malicious or bad faith intent to injure a person.'" Sebold v. City of Middletown, No. 3:05-CV-

1205, 2007 WL 2782527, *26 (D. Conn. Sept. 21, 2007) (quotation omitted); see also Cine

SK8, 507 F.3d at 790 (quotation omitted); Church of the Am. Knights of the Ku Klux Klan v.

Kerik, 356 F.3d 197, 210 (2d Cir. 2004) (holding that "[a] selective enforcement claim

requires, as a threshold matter, a showing that the plaintiff was treated differently compared to

others similarly situated"). In particular, a "plaintiff must present evidence comparing

[him]self to individuals that are 'similarly situated in all material respects.'" Sebold, 2007 WL

2782527, at *26 (quoting Graham v. Long Island R.R., 230 F.3d 34, 39 (2d Cir. 2000)).9


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          "[T]here is disagreement within the Second Circuit regarding the precise standard for
                                                                                          (continued...)
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        In the present matter, the Court finds that Defendants' are entitled to summary judgment

 on Plaintiff's Equal Protection claim. First, as Defendants correctly argue, Plaintiff has failed


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         (...continued)
determining whether comparators are similarly situated for [selective enforcement and 'class of
one'] claims." Mosdos Chofetz Chaim, Inc. v. Vill. of Wesley Hills, 815 F. Supp. 2d 679, 693
(S.D.N.Y. 2011). In the selective enforcement context, plaintiffs must compare themselves to
individuals that are "similarly situated in all material respects." Sharpe v. City of New York, No.
11 CIV. 5494, 2013 WL 2356063, *4 (E.D.N.Y. May 29, 2013) (citation omitted). "'The test is
whether a prudent person, looking objectively at the incidents, would think them roughly
equivalent and the protagonists similarly situated. Much as the lawyer's art of distinguishing
cases, the "relevant aspects" are those factual elements which determine whether reasoned analogy
supports, or demands, a like result. Exact correlation is neither likely or necessary, but the cases
must be fair congeners.'" Mosdos, 815 F. Supp. 2d at 696 (quotation and other citations omitted);
Abel v. Morabito, No. 04 Civ. 07284, 2009 WL 321007, *5 (S.D.N.Y. Feb. 10, 2009); Estate of
Morris v. Dapolito, 297 F. Supp. 2d 680, 686 (S.D.N.Y. 2004).

        In a "class of one" case, the "level of similarity between plaintiffs and the persons with
whom they compare themselves must be extremely high," because such comparison is used "to
provide an inference that the plaintiff was intentionally singled out for reasons that so lack any
reasonable nexus with a legitimate governmental policy that an improper purpose – whether
personal or otherwise – is all but certain." Neilson v. D'Angelis, 409 F.3d 100, 104-05 (2d Cir.
2005), overruled on other grounds by Appel v. Spiridon, 531 F.3d 138 (2d Cir. 2008) (per
curiam)). Thus, the comparator's circumstances must be "prima facie identical." Id. at 105.
"Accordingly, to succeed on a class-of-one claim, a plaintiff must establish that (i) no rational
person could regard the circumstances of the plaintiff to differ from those of a comparator to a
degree that would justify the differential treatment on the basis of a legitimate government policy;
and (ii) the similarity in circumstances and difference in treatment are sufficient to exclude the
possibility that the defendants acted on the basis of a mistake." Clubside, Inc. v. Valentin, 468
F.3d 144, 159 (2d Cir. 2006) (quoting Neilson, 409 F.3d at 105).

        The Court need not decide the appropriate standard to apply because, even under the more
permissive selective enforcement standard, Plaintiff's claim fails. See, e.g., Fortunatus v. Clinton
Co., No. 8:12-CV-458, 2013 WL 1386641, *14 (N.D.N.Y. Apr. 4, 2013) (noting disagreement
within the Second Circuit, observing that "this Court does not understand the subtle distinction
between 'extreme high degree' and 'all material respects,'" and ultimately concluding that the
plaintiff's proof failed under the lesser standard); Laidlaw, 2011 WL 4954881, at *10 n.4
(acknowledging that "there is a dispute in this Circuit's district courts over whether the same
standard applies to both selective enforcement and 'class of one' claims" while granting
defendant's motion to dismiss "[b]ecause this Court finds that [plaintiff] is not similarly situated
even under a more permissive selective enforcement standard, it need not consider whether
[plaintiff] would fare better under the potentially more stringent 'class of one' standard"); Gentile
v. Nulty, 769 F. Supp. 2d 573, 580 (S.D.N.Y. 2011).
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to establish that it was treated differently than any other similarly situated entity. Plaintiff was

the only applicant to the 2013 and 2014 Summer Outdoor Lunch Program with a business

name containing a racially offensive term. Further, Wandering Dago was the only applicant

with a menu containing items with offensive names. Wandering Dago contends that the vendor

"Slidin' Dirty" was permitted to participate in the program and one "may or may not find it an

offensive reference to the problems of urban crime, gun violence, and drug trafficking[.]" Dkt.

No. 158 at 22. As Plaintiff itself acknowledges, the name Slidin' Dirty requires several

inferences and knowledge of the underlying meaning behind the lyrics of Chamillionaire's song

"Ridin'." Even then, an individual "may or may not" find it offensive. Further, Plaintiff

acknowledges that "someone not familiar with the phrase or the song misses the meaning

entirely." Id. The obvious differences between the direct use of a racial slur in a company's

name, as compared to a company that may or may not be making a veiled reference to a 2005

Chamillionaire song can hardly be considered similarly situated. Since a prudent person,

looking objectively at the relevant facts, would not consider Wandering Dago and Slidin' Dirty

similarly situated in all material respects, Defendants are entitled to summary judgment on this

claim.

         Moreover, even if Wandering Dago and Slidin' Dirty were similarly situated in all

material respects, the undisputed facts establish that the differential treatment was not based on

impermissible considerations such as race, religion, intent to inhibit or punish the exercise of

constitutional rights, or a malicious or bad faith intent to injure. Rather, as discussed, the

undisputed facts demonstrate that Wandering Dago's application was denied because of its




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offensive name and menu items that were contrary to the family-friendly atmosphere that OGS

strives for at all events and programs it sponsors.

        Based on the foregoing, the Court grants Defendants' motion for summary judgment as

to Plaintiff's Equal Protection claim.



E.      Plaintiff's New York State Constitution claims

        "'The New York State Constitution's guarantees of equal protection and due process are

virtually coextensive with those of the United States Constitution.'" Guan N. v. N.Y.C. Dept. of

Educ., No. 11-cv-4299, 2013 WL 67604, *20 (S.D.N.Y. Jan. 07, 2013) (citing Coakley v.

Jaffe, 49 F. Supp. 2d 615, 628 (S.D.N.Y. 1999); Pinnacle Nursing Home v. Axelrod, 928 F.2d

1306, 1317 (2d Cir. 1991)) (other citation omitted). Further, "freedom of speech claims are

subject to the same analysis under the federal and New York State Constitutions." Menes v.

City Univ. of N.Y. Hunter College, 578 F. Supp. 2d 598, 617 n.16 (S.D.N.Y. 2008) (citations

omitted).

        In light of the coextensive protections afforded under the New York State Constitution,

Defendants' motion for summary judgment as to Plaintiff's New York State Free Speech and

Equal Protection claims is granted for the reasons set forth above.



                                         IV. CONCLUSION

        After carefully considering the entire record in this matter, the parties' submissions and

the applicable law, and for the above-stated reasons, the Court hereby




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       ORDERS that the Defendants' motion for summary judgment is GRANTED; and the

Court further

       ORDERS that Plaintiff's cross-motion for summary judgment is DENIED; and the

Court further

       ORDERS that the Clerk of the Court shall enter judgment in Defendants' favor and

close this case; and the Court further

       ORDERS that the Clerk of the Court shall serve a copy of this Memorandum-Decision

and Order on all parties in accordance with the Local Rules.

IT IS SO ORDERED.

Dated: March 1, 2016
       Albany, New York




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